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                                  EXHIBIT A
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                Criminal Conduct, Offense and Guideline Chart

   Criminal Conduct                               Offense Level Before Any   Guideline
                                                  Reduction for Acceptance

   Selling or buying a child for use in the                 38                § 2A1.2
   production of pornography.


   Second degree murder.                                    38                § 2A1.2


   Voluntary manslaughter.                                  29                § 2A1.3


   Successful extortion of $1 Billion by                    27                § 2B3.2
   threatening to kill a woman and her
   family.


   Committing a home invasion robbery by                    34                § 2B3.1
   brandishing a gun and using restraints
   against a family, and absconding with
   $100 million in art, collectibles, and cash.


   Trafficking in over 600 images of child                  33                § 2G2.2
   pornography involving an infant or
   toddler that portray sadistic conduct or
   depictions of violence.


   Sex trafficking of a child aged 12.                     24-34              § 2G1.3
 Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 3 of 175 Page ID #:23591




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27                                EXHIBIT B
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     Case Name/Number                                           Description of the Case                                      Loss Amount           Sentence

United States v. Harvey Newkirk,   Defendant was an attorney convicted of wire fraud after a jury trial. He was            Government             6 months
14-Cr-534-JSR                      acquitted of conspiracy and aggravated identity theft. He defrauded lenders of          alleged
(SDNY)                             millions of dollars. His skills as an attorney were critical to the fraud and the       $37,400,000
                                   government claimed that his crime was marked by lies to his law firm and victims.




United States v. Joseph Farkas,    Defendant Farkas was charged with four counts including conspiracy to commit            Probation determined   12 months,
18-Cr-340-LGS                      securities fraud, securities fraud, conspiracy to commit wire fraud, and wire fraud.    $25,000,000-           1 day
(SDNY)                             The government alleged that he participated in a scheme to defraud victims out of       $65,000,000
                                   money after telling them to cumulatively invest more than $25 million in a
                                   cryptocurrency production company, which he and his co-conspirators created. In
                                   order to lure investors, he misrepresented the nature of the business, the members of
                                   the executive team, and represented false partnerships with large companies such as
                                   Visa or Mastercard.



United States v. Jonathan Smith,   Defendant Smith pled guilty to wire fraud in connection with a scheme wherein he        At least               12 months,
21-Cr-00272-JFW                    was the CEO of two Hollywood production companies. He fraudulently obtained a           $2,000,000             1 day
(CDCA)                             $2,000,000 loan using fabricated documents and misrepresenting the companies’
                                   finances.



United States v. Evan Greebel,     Defendant Greebel was a former attorney and partner of a New York law firm who          Government alleged     18 months
15-Cr-637-KAM                      served as outside counsel for a biopharmaceutical company. He engaged in a              >$10,447,979
(EDNY)                             conspiracy wherein he stole millions of dollars in cash and stock from the
                                   pharmaceutical company by manipulating the price of the stock and trading high
                                   volumes of stock. The government argued that he leveraged his skill as an attorney
                                   and violated his ethical duties owed to his client. Defendant was ordered to pay
                                   $10,447,979.00 in restitution.
                                                                                                                                                               Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 4 of 175 Page ID #:23592




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     Case Name/Number                                            Description of the Case                                      Loss Amount           Sentence

United States v. Alice Belmonte,    Defendant Belamonte was a former and disbarred attorney who was convicted in            $2,000,000             24 months
16-Cr-260-DRH                       connection with a wire fraud scheme wherein it was alleged that she stole $2
(EDNY)                              million from victims. These victims believed they were providing her with money
                                    in order to invest the funds in real estate. Even after being disbarred, she held
                                    herself out as an attorney and continued the scheme. The victims’ funds were never
                                    invested in real estate, and they never received funds back.




United States v. Martin Weisberg,   Defendant Martin Weisberg, a former corporate partner in an international law firm      Probation determined   24 months
8-Cr-347-NGG                        was charged after it was alleged that he took money from one of his client’s escrow     $55,000,000
(EDNY)                              accounts, advised the client that the funds could not accrue interest and then
                                    diverted the interest from the $30,000,000 escrow account for himself.



United States v. Julian Garcia,     Defendant pled guilty to conspiracy to commit honest services mail fraud and health     $3,500,000-            33 months
15-Cr-02820-BAS                     care fraud. He was charged in connection with a massive kickback scheme                 $9,500,000
(SDCA)                              involving Workers’ Compensation. The Court determined at Defendant Garcia’s
                                    sentencing that the lost amount was between $3,500,000 to $9,500,000.



United States v. Scott              Defendant Allensworth pled guilty to wire fraud in connection with his role as the      Government alleged     33 months
Allensworth,                        owner and CEO of Capital Growth Group Associates, which provided financial              $2,321,000
21-Cr-00216-JAK                     services to clients. He misled his clients to invest in a brokerage account, which
(CDCA)                              would limit their losses and generate monthly returns. He did not invest the funds as
                                    promised and instead used a portion of the funds for his own personal expenses. He
                                    provided lulling payments disguised as monthly returns and also provided false
                                    account statements to his victims. As a result of the scheme, Defendant Allensworth
                                    and Co-Defendant Weddle caused loss to more than 50 victims. Co-defendant
                                    Weddle pled guilty to wire fraud and was sentenced to 41 months in prison.
                                                                                                                                                               Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 5 of 175 Page ID #:23593




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     Case Name/Number                                            Description of the Case                                       Loss Amount         Sentence

United States v. David Kaplan,      Defendant Kaplan was charged with seven counts of securities fraud, thirty-five          $3,500,000 -         36 months
19-Cr-00237                         counts of wire fraud, eight counts of mail fraud, and eighteen counts of money           $9,500,000
(D. Co.)                            laundering (seventy-one total counts). It was determined that Mr. Kaplan alongside
                                    two co-defendants conspired to obtain approximately $12 million from investors
                                    promising risk-free offshore investments. Using his position as an attorney and his
                                    trust accounts, he gained the trust of investors and led clients to believe that their
                                    money was being held. He also paid his clients occasional lulling payments.


United States v. Michael Godfree,   Defendant Godfree pled guilty to wire fraud in connection with a scheme where he         $8,336,965           36 months
19-Cr-00242-JAK                     defrauded his victim purchasers into buying “ancient slag” that he said could be
(CDCA)                              used to extract precious metals from the slag. He also represented that there was a
                                    process/technology that would soon be available to extract the slag. The
                                    government argued that the slag was nothing more than worthless dirt. Not a single
                                    person saw return on their investment. The scheme involved over 100 victim-
                                    purchasers.



United States v. Efstratios         Defendant pled guilty to wire fraud. He was charged in connection with a scheme          Government alleged   36 months
Argyropoulos,                       where he was the president of a financial services firm. He represented that he had      >$4,121,461.04
18-Cr-00039-GW                      access to investment opportunities that would provide high rate of return. He misled
(CDCA)                              investors by telling them he would pool investors’ funds to purchase stocks in well-
                                    known companies. He used their funds for other uses. He also actively sought out
                                    victims by meeting them at church gatherings to develop relationships. He was
                                    charged in connection with misleading 130 victims.



United States v. Schlomo            Defendant Schmuel was a licensed doctor. He paid and recovered kickbacks and             Government alleged   37 months
Schmuel,                            bribes in connection with a referral scheme involving patients and medical               $9,486,713
19-Cr-3006-BAS                      procedures. He pled guilty to conspiracy to commit honest services fraud. He
(SDCA)                              agreed to a base offense level of 6, a loss between $3.5 - $9.5 million, as well as
                                    three levels of enhancements due to loss over $1 million involving a government
                                    health care program, sophisticated means, and abuse of a position of trust.
                                                                                                                                                              Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 6 of 175 Page ID #:23594




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     Case Name/Number                                            Description of the Case                                      Loss Amount         Sentence

United States v. Richard Gaffey,    The defendant was an accountant who was convicted of wire fraud, conspiracy to          Government alleged   39 months
18-Cr-693-RMB                       commit tax evasion, and aggravated identity theft. Acting within his capacity as an     >3,400,000
(SDNY)                              accountant, He helped his clients evade taxes by hiding ownership of offshore shell
                                    companies assets contained within these companies. He also helped with setting up
                                    bank accounts for those shell companies exceeding tens of millions of dollars. The
                                    government claimed that the loss amount to the U.S. Treasury exceeded 3.4 million
                                    dollars.


United States v. Fermin Iglesias,   Defendant Iglesias and his codefendants operated a patient capping scheme where         ~$9,500,000          42 months
16-Cr-00131-BAS-1                   the found individuals willing to file Workers’ Compensation claims against their
(SDCA)                              employers. Using a network of attorneys, physicians, and medical goods providers,
                                    they recruited patients and forced the patients to work within this network of
                                    individuals within the scheme. The professionals in turn received kickbacks
                                    payments from each other. The entire scheme involved more than $200,000,000.


United States v. Lobsang Dargey,    Defendant Dargey was a real estate developer who pled guilty to defrauding              $24,242,220          48 months
17-Cr-001-RSL                       investors, federal regulators and institutional investors. Dargey recruited numerous
(WDWA)                              international investors to fund developments through a program that would allow
                                    for the investors to then qualify for residency. He represented that he was investing
                                    funds in compliance with this federal program but instead he used the funds for
                                    impermissible purposes not allowed under the federal program and deprived the
                                    victims of what they believed to be a path towards citizenship.


United States v. Raghavender        Defendant pled guilty to bank fraud and money laundering in connection with a           $5,151,497           48 months
Reddy Budamala,                     scheme where he formed three shell companies with no operations and submitted
22-Cr-00077-ODW                     applications to take advantage of federal programs designed to help companies
(CDCA)                              through the economic turmoil caused by Covid-19 (i.e., PPP loans). The SBA and
                                    banks funded six of the loans and caused a disbursement of $5,151,497. He applied
                                    for several of the loans to be forgiven and represented that he used the funds
                                    entirely for payroll, when in reality, he used the funds for personal expenses
                                    inclusive of an investment property in Eagle Rock, a property in Malibu and another
                                    personal residence in Irvine. He had also attempted to abscond to Mexico.
                                                                                                                                                             Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 7 of 175 Page ID #:23595




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     Case Name/Number                                          Description of the Case                                      Loss Amount         Sentence

United States v. Stephen Gordon,   Defendant Gordon pled guilty to wire fraud. Over the period of six years, Gordon       At least             50 months
15-Cr-116-RSM                      solicited investments and loans from individuals promising a high rate of return,      $4,000,000
(WDWA)                             indicative of a Ponzi scheme. Defendant Gordon agreed that at least 30 individuals
                                   suffered financial losses of at least $4,000,000 as a result of this scheme.


United States v. Steven Brown,     Defendant Brown pled guilty to wire fraud in connection with a scheme where he         Government alleged   51 months
20-CR-381-PSG                      ran a consulting and investment company despite not being a registered broker or       >$3,000,000
(CDCA)                             dealer in securities. He induced investors by promising a monthly payout. He
                                   represented falsely that he had experience investing in the foreign exchange
                                   currency trading and had routinely made profitable trades. He instead used investor
                                   funds in large part for other personal purposes and routinely gave them some
                                   recurring “lulling” payouts. He caused losses of over $3 million to 48 victims.


United States v. Steven Michael    Defendant Hubbard operated a scheme in which he gained control of other people’s       Government alleged   51 months
Banks Hubbard,                     checking accounts to make phony fraud loss claims. Over the period of over four        >$2,400,000
19-Cr-00399-CAS                    years, he deposited funds into the account, he would then withdraw the funds from
(CDCA)                             the account via an ATM, and then he would pose as the account holder to report that
                                   the funds had been stolen. Wells Fargo would then grant a provisional credit to the
                                   account and then he would remove that money as well. This scheme involved more
                                   than 900 bank accounts.

United States v. Richard Finger,   Defendant Finger previously worked at a Seattle brokerage firm. He misrepresented      Government alleged   54 months
11-Cr-382-RSM                      the success of investments made by his numerous clients. He also transferred funds     “close to”
(WDWA)                             from the brokerage accounts to his personal account for his personal use.              $7,000,000


United States v. Akrum Alrahib,    Defendant Alrahib pled guilty to conspiracy to commit mail fraud and was ordered       >$9,500,000          60 months
21-Cr-00185-WBS                    to pay $10 million in restitution after he agreed that he led two conspiracies where
(EDCA)                             he distributed non-cigarette tobacco products without collecting the required tax.
                                   The government determined that the defendant cost the State of California over $10
                                   million in tax revenue. His plea agreement called for a loss amount over
                                   $9,500,000, the sophisticated means enhancement, an obstruction of justice
                                   enhancement, as well as +4 for role in the offense. Defendant was also charged
                                   separately in the Southern District of Florida (19-Cr-21065), which resulted in a
                                                                                                                                                           Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 8 of 175 Page ID #:23596




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     Case Name/Number                                         Description of the Case                                       Loss Amount          Sentence
                                 sentence of 60 months. The California matter was ordered to be served concurrently
                                 with the Florida case. Restitution was ordered in the amount of $10,039,126.

United States v. John Steele,    Defendant John Steele, while an attorney, executed a scheme to obtain millions of        $1,500,000-           60 months
16-Cr-00334                      dollars by threatening copyright lawsuits against individuals who downloaded             $3,500,000
(D. MN)                          pornography from websites that he had surreptitiously lured them to through file
                                 sharing websites. Defendant created sham entities, lied to state and federal courts in
                                 filing fraudulent lawsuits and secured subpoenas to obtain victims’ information.
                                 When questioned about defendant’s scheme in open court, he lied and caused others
                                 to lie to judicial officers to conceal the scheme. In his plea agreement, he agreed
                                 that the offense involved 10 or more victims, he engaged in sophisticated means, he
                                 took an aggravating role, he abused his position of trust, and he obstructed justice.



United States v. Thul Van Le,    Defendant Le was a former pharmacist who owed a Pharmacy in Corona. He pled              Restitution set at    70 months
18-Cr-00119-RGK                  guilty to health care fraud. He pled guilty to a scheme where his pharmacy               $10,982,759
(CDCA)                           submitted more than $13 million in bogus claims to Tricare and AmPlan and paid           (Tricare) &
                                 marketers kickbacks with a portion of the reimbursement he received from Tricare.        $768,488 (AmPlan)


United States v. William         Notorious Defendant McFarland was charged and pled guilty in connection with             Government alleged    72 months
McFarland,                       two separate schemes whereby he defrauded and misled thousands of people,                >$26,000,000
17-Cr-00600-NRB                  promising a luxurious music festival (“the Fyre Festival”) located in the Bahamas.
(SDNY)                           He also induced investors by claiming that he had investment promises from capital
                                 firms, had earned millions in talent bookings, and provided them false
                                 documentation.


United States v.                 Defendant and former attorney Reinert pled guilty to a single count of wire fraud.       $3,500,000 -          78 months
Peter Heinrich Conrad Reinert,   The government alleged that Defendant Reinert operated three schemes wherein he          $9,500,000            + was
15-Cr-0035-JLS                   created a false product that promised to highly increase gas mileage, claimed to be                            granted early
(CDCA)                           developing a technology that guarded against counterfeiting and could be used on         (Government alleged   release to
                                 state ID cards, and told victims that he ran a company that converted used tires to      >$7,000,000)          home
                                 oil. He falsely told victims that he was a Secret Service agent, a U.S. Marine, and                            confinement.
                                 had business ties with Tesla and General Electric. He lured funds from victims,
                                 claiming the monies would be used to develop the technology, but instead used the
                                 funds for personal expenses.
                                                                                                                                                                Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 9 of 175 Page ID #:23597




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     Case Name/Number                                           Description of the Case                                       Loss Amount         Sentence



United States v. Michael           Defendant Sweaney pled guilty to wire fraud after his company used high pressure         Government alleged   78 months.
Sweaney,                           tactics to raise more than $9.5 million. He lied to investors by telling them that his   $9,771,052.80
20-Cr-00159-JLS                    company had utilized a technology that generated three times more electricity than
(CDCA)                             other types of solar panels. The technology, referred to as Nanopanel, did not exist.
                                   Instead of using the investors’ funds for the company and manufacturing the
                                   technology, he used it on himself and his lavish lifestyle.



United States v. Robert Cirillo,   Defendant Cirillo pled guilty to securities fraud, filing a false tax return and         $4,312,710           78 months
22-Cr-00077-DOC                    conspiracy to commit wire fraud. He misled more than 100 victims by leading to
(CDCA)                             them believe that he was investing their funds in construction loans that would pay
                                   high rates of return. He provided false documentation in support of his lies in the
                                   way of fabricated bank statements. He specifically targeted vulnerable members of
                                   the Hispanic community. In a separate scheme, which the government referred to as
                                   a “grandparent scam,” he led a senior into believing that his grandson had been
                                   arrested and needed $400,000 for bail. He also filed false income taxes and failed to
                                   declare millions in income.
                                                                                                                                                                                               #:23598




United States v. Dennis Blieden,   Defendant Blieden pled guilty to wire fraud and aggravated identity theft. As part of    $22,669,979.07       79 months
19-Cr-00399-AB                     his job with StyleHaul, Inc., he had control over the company’s bank accounts. He
(CDCA)                             unlawfully wired company money to his own account to pay for personal expenses,
                                   gambling, and to fund his cryptocurrency investments. In an effort to conceal his
                                   scheme, he labeled the wire transfers as being authorized payments or equity draws.


United States v. Rhonda Breard,    Defendant Breard pled guilty to wire fraud. For a period of six years, she worked as     Government alleged   80 months
10-Cr-081-MJP                      an investor who would recommend that her clients liquidate their assets and transfer     $11,457,526.45
(WDWA)                             their funds into what she represented to be more lucrative investments. During this
                                   time, she agreed that she defrauded at least 37 individuals out of at least $9.4
                                   million.
                                                                                                                                                              Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 10 of 175 Page ID




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     Case Name/Number                                          Description of the Case                                      Loss Amount         Sentence

United States v. Martin Shkreli,   Defendant Shkreli (aka “Pharma Bro”) was found guilty of multiple counts of            Government alleged   84 months
15-Cr-00637-KAM                    securities fraud and conspiracy to commit securities fraud. Notorious Defendant        >$9,500,000
(EDNY)                             Shkreli was the founder of a hedge fund and CEO of a biopharmaceutical company.
                                   He was found guilty of making false representations to induce investors to invest in
                                   his healthcare hedge fund. He sent investors fabricated performance updates and
                                   withdrew funds for his own personal benefit. He also engaged in a conspiracy with
                                   Evan Greebel (above), wherein they defrauded investors and potential investors
                                   regarding the company Retrophin. Prior to trial, Defendant Shkreli made online
                                   threats against Hillary Clinton and was remanded into custody as a result. The
                                   government alleged that the offense involved more than 10 victims, employed
                                   sophisticated means, he was the leader or organizer, and that he obstructed justice.


United States v. Aaron Beaird,     Defendant Beaird pled guilty to multiple counts of wire fraud. He agreed that over     $5,701,943.27        84 months
12-Cr-247-RSM                      the period of six years, he would recommend to clients that they liquidate their
(WDWA)                             investments and transfer assets to a financial product he recommended. Instead of
                                   investing the funds as promised, he would use the funds for his own personal
                                   benefit. He defrauded at least 11 individuals.

United States v. Donald Lee,       Defendant Lee proceeded to trial wherein he was found guilty of seven counts of        Government alleged   93 months
                                                                                                                                                                                            #:23599




16-Cr-00415-GW                     health care fraud and one count of adulteration of a medical device. After trial, he   $12,476,350
(CDCA)                             pled guilty to a single count of false declarations in a bankruptcy proceeding.
                                   Defendant Lee was a doctor who acted as a Medicare provider and billed for
                                   medically unnecessary procedures using inappropriate codes to obtain higher
                                   reimbursement amounts. The evidence also established that he reused catheters that
                                   were clearly marketed as single use devices, which put his patients at risk of
                                   infection and injury. Despite being ordered to stop practicing medicine and
                                   surrender his license, he continued to practice medicine and performed invasive
                                   procedures, thus putting the patients at considerable risk.

United States v. Adam Joiner,      Defendant Joiner pled guilty to wire fraud and was additionally penalized for          Government alleged   97 months
19-Cr-00744-AB                     committing an office while on release in violation of 18 U.S.C. § 3147. He pled        ~$14,000,000
(CDCA)                             guilty in connection with a scheme where he acquired $14 million by falsely
                                   claiming he would use $14 million to produce a feature film distributed by Netflix.
                                   He then diverted the monies for his own personal use and unrelated projects. After
                                   signing the original plea agreement, but before sentencing, he sold his Manhattan
                                   Beach residence and fraudulently removed the liens his victims had placed on the
                                                                                                                                                           Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 11 of 175 Page ID




                                   house by filing false documentation through the use of forged signatures.
                                                                              8
     Case Name/Number                                            Description of the Case                                      Loss Amount         Sentence

United States v. Ronald Grusd,      Defendant Grusd was found guilty of 39 counts of fraud after a jury trial. Dr. Grusd    >$22,000,000         9 years,
15-Cr-02821-BAS                     and his companies paid kickbacks in exchange for client referrals from clinics                               364 days
(SDCA)                              throughout the San Diego and Imperial County areas. He was found to have
                                    fraudulently billed over $22 million. During his trial, the district court made a                            (resentenced
                                    finding that he lied and perjured himself at trial. At sentencing, the district court                        to 48
                                    failed to provide Defendant Grusd with credit against the loss, determined the loss                          months)
                                    amount exceeded $22,000,000, and concluded that his net offense level was 39.
                                    After a successful appeal to the Ninth Circuit, the district court’s sentence was
                                    vacated, and Grusd was resentenced to a total term of 48 months.


United States v. Charles Sebesta,   Defendant Sebesta pled guilty to one count of wire fraud and one count of bank          Government alleged   130 months
19-Cr-00463-SVW                     fraud in connection with his work as a chairman of a church. He issued checks and       $11,438,213
(CDCA)                              made payments from the church bank accounts to fictitious companies that he
                                    created. He also oversaw the sale of a church property for approximately
                                    $12,800,000 and diverted a significant portion of the proceeds for his own personal
                                    gain. He defrauded the church and numerous vulnerable, elderly members of the
                                    church over a ten year period of more than $11 million.
                                                                                                                                                                                                 #:23600




United States v. Robert Benlevi,    After trial, Defendant Benlevi was found guilty of six counts of bank fraud, six        Government alleged   135 months
21-Cr-00246-PA                      counts of false statements to a financial institution, and four counts of conducting    between
(CDCA)                              monetary transactions in criminally deprived property over $10,000. Between the         $9,500,000 and
                                    period of April 2020 and May 2020, the defendant submitted 27 applications for          $25,000,000
                                    SBA applications, each seeking $1 million in PPP loans. He made fraudulent
                                    representations about the value of each business and the amount of employees and
                                    their corresponding payroll.
                                                                                                                                                                Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 12 of 175 Page ID




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     Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 13 of 175 Page ID
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27                                EXHIBIT C
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Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 14 of 175 Page ID
                                 #:23602
     Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 15 of 175 Page ID
                                      #:23603



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27                                EXHIBIT D
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Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 16 of 175 Page ID
                                 #:23604
Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 17 of 175 Page ID
                                 #:23605
Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 18 of 175 Page ID
                                 #:23606
     Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 19 of 175 Page ID
                                      #:23607



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27                                 EXHIBIT E
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Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 20 of 175 Page ID
                                 #:23608
     Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 21 of 175 Page ID
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27                                 EXHIBIT F
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Case 8:19-cr-00061-JVS Document 996-1 Filed 10/11/22 Page 22 of 175 Page ID
                                 #:23610


                                  DE ANDA LAW FIRM, PC
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October 6, 2022




Honorable James V Selna
US District Court Judge
US District Court
Central District of California

Re: Sentencing - Michael Avenatti

Dear Judge Selna,
I am an attorney in private practice with an office located in Laredo, Texas. During the
spring of 2018, my office was deeply involved in representing refugee separated
families ensnared in the government's infamous family separation policy. It was lonely
work as the affected refugees could not afford paying for legal assistance.
In April of 2018, I received a call from Michael Avenatti, whom I did not then know,
volunteering his assistance in my representation of separated families. I explained the
drastic situation of my clients, not only being separated from their children while in
detention, but, most frighteningly, being subject to deportation without their children.
Michael was in Laredo with an assistant within 3 days after I asked for his help.

Over the next week Michael assisted our office in interviewing clients in detention
(mothers), helped locate their separated children, and facilitated phone communications
between the mothers and their children. Michael subsequently traveled with me to
Phoenix to visit a separated child in government detention. He also worked with me in
federal litigation in New York, which resulted in the release of a child in detention to his
by then deported mother, and traveled with me and the child to deliver him to his mother
in Guatemala City.

All of this work was done pro bono, at his expense, solely from Michael's heart and care
for these families. He spent a considerable amount of time in this effort, and helped our
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office reunite dozens of separated families. I personally saw him break down in
emotional tears when listening to the experience of a separated mother during an
interview in detention. I can say your honor, from personal professional experience, that
the real and true Michael Avenatti is a caring and respectful man who emphathizeswith
the downtrodden. He deserves mercy, and I ask that the court consider the above in his
sentencing.




                                               Sincerely,



                                                Ricardo de Anda
                                                Attorney at Law
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                                 #:23612


Hon. Judge James V. Selna                                                    October 10, 2022
U.S. District Court
411 West 4th Street
Santa Ana, CA 92701-4516

RE: Michael Avenatti

Your Honor:

I learned recently that you are presiding over a case against Michael Avenatti and that you will
sentence him soon in that case. I am writing now to present my story about Mr. Avenatti, which
reveals a side of him that you may not have seen. I have never met Mr. Avenatti and knew
nothing of him until I saw him on TV in June 2018, but I have seen a goodness/kindness in him
that I hope will not go unrecognized by the court.

On June 17, 2018, I read an article in the New York Times, titled “’I Can’t Go Without My Son,’ a
Mother Pleaded as She Was Deported to Guatemala”. It was about a 25-year-old Guatemalan
woman named Elsa Ortiz, whose 8-year-old son, Antony, was taken from her shortly after they
crossed the border into Texas in May 2018. Two days later she was deported to Guatemala
without Antony. I was appalled and shaken by what I read in the article. I began reading other
articles about similar cases. “This is not what the country I grew up in does!”, I thought. My wife,
Tina, and I were scheduled to travel to Guatemala eight days later for a vacation with our son.
He was there to treat patients with severe burns from a recent volcanic eruption and had invited
us down for a week before he returned to New York. I thought that we might be able to help get
some of these children reunited with their parents while we were there.” We had seen Mr.
Avenatti on CNN, saying that he would represent such cases pro bono. I was skeptical, but I
sent an email to him directly and called his office to leave a message with his receptionist. We
were both surprised and excited when one of his partners called me the next day. I learned later
that Mr. Avenatti had forwarded my email to this partner and several others in his firm less than
30 minutes after I sent it, with the short message “We should help here.” Tina immediately got
on social media to find Elsa and other mothers/fathers who also had their children taken and
kept in the U.S. after they were deported to Guatemala. She was able to contact three such
families and Mr. Avenatti agreed to represent all of them. His partner sent the papers to be
signed. We took them to Guatemala and, with the help of a lawyer there, got signatures from
Elsa and Lourdes de Leon. (The third parent already had representation that he was happy
with.) Mr. Avenatti and an immigration lawyer in Laredo, Texas, got both children reunited with
their mothers. During Antony’s hearing Mr. Avenatti offered to personally return Antony to Elsa
at his own expense. He did so immediately after the hearing in Dallas. Elsa had a friend video
the reunion as the two lawyers and Antony met her in the Guatemala City airport. There were
hugs and tears of joy all around. In that video, my wife and I saw a genuine kindness in Mr.
Avenatti that we will always admire and appreciate. Elsa is grateful beyond words. She refused
to believe it when we told her that Mr. Avenatti had been arrested. In her mind, he is probably
the kindest man in the world.

Sincerely,




Professor Emeritus
University at Buffalo
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                                     #:23613


7 de Octubre, 2022

Sr. Juez:

Conocí al abogado Michael en el 2018. El gobierno americano me detuvo cuando
llegué a los Estados Unidos y me iban a deportar. Antes de deportarme, me quitaron a
mi hijo. Él solo tenia seis años. Me dijeron que cuando llegara a Guatemala, me lo iban
a entregar allí en Guatemala. Llegué a Guatemala y no me lo entregaron. No sabía
nada de él. Nadie sabía nada. Pedia información y no me podían dar ningún dato de el
- ni de donde estaba. Tengo una prima que me ayudó preguntar. Ella se puso en
contacto con la cadena de televisión - Univisión. El canal Univisión me puso en
contacto con el abogado Michael. Michael me hacia preguntas y Juan (su asistente) le
traducía lo que yo le decía y luego le di como un poder para que me ayudara.

Una vez que supo lo que paso, el abogado empezó hacer llamadas y el me ayudo a
encontrar a mi niño. Pasaron varios meses antes de encontrar a mi niño. Lo
encontraron en un centro de detención en Nueva York. Cuando el abogado lo
encontró, me consiguió un video de mi niño en ese lugar en Nueva York para que
pudiera ver que estaba bien. Y después de eso, me conectaron con el por una
videollamada. El abogado puso los papeles para que me lo devolvieran. Y fue entonces
cuando la trabajadora social que le habían dado a mi niño empezó hablar con migo cada
semana para que pudiera verlo y hablar con el. Me lo devolvieron después de cuatro
meses. Me sentía impotente con el niño en los Estados Unidos y yo en Guatemala.

Estoy agradecida por lo que hizo por nosotros el licenciado Michael. No me cobraron
por ayudarme encontrar a mi hijo ni por traermelo. Mi hijo ya tiene dies años, esta
bien y estudiando. Nos trato bien y nos dio fe. Yo se que con la ayuda de dios va salir
adelante.

Entiendo que el señor Michael tiene estos problemas y que esta detenido. Quiero que
sepan que el abogado Michael es buena persona con un gran corazón que ayudo a
muchas familias que tuvieron el mismo problema que el mio: que les quitaron a sus
hijos. El trabaja duro y va salir adelante. Ojala que pueda tomar en cuenta lo bueno
que hizo en los casos de nosotros. No cualquier persona hubiera hecho eso.

Gracis, Sr. Juez, por sus atenciones.

Lourdes De Leon
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[TRANSLATION FROM SPANISH TO ENGLISH]

October 7, 2022

Dear Judge:

I met the attorney Michael in 2018. The American government detained me when I arrived
in the United States and they were going to deport me. Before they deported me, they took
my son from me. He was only six years old. They told me that when I arrived in Guatemala,
they would return him to me in Guatemala. I arrived in Guatemala and they did not return
him to me. I didn’t know anything about his whereabouts. No one knew anything. I would
ask for information and they couldn’t give me any information about him - not even where he
was located. I had a cousin who helped me ask around. She contacted the Univision
television station. The Univision network put me in touch with Michael. Michael asked me
questions and Juan (his assistant) would translate what I would say and then I gave him a
release so he could help me.

Once he knew what had happened, the attorney began to make calls and he helped me find
my son. It was a number of months before they found my son. They found him in a
detention center in New York. When the attorney found him, he was able to obtain a video of
my son at the place in New York so that I could see that he was fine. After that, he arranged
for him to have a video call with me. The attorney then filed the paperwork so they could
return him to me. It was then that the social worker they had given my son, started to call me
every week so I could see my son and speak to him. They returned him to me 4 months after
they had taken him from me. I felt powerless with my son in the United States and me in
Guatemala.

I am grateful for what the attorney Michael did for us. They didn’t charge me for helping me
find my son nor for bringing him to me. My son is now ten years old, he is fine and is
studying. He treated us well and he gave us faith. I know that with the help of God, he will get
through this.

I understand that Mr. Michael has these problems and he is in custody. I would like you to
know that the attorney Michael is a good person with a great heart that helped many families
with the same problems as mine: where they had taken their children from them. He works
hard and will get ahead. I hope you can take into consideration the good he did in our cases.
Not just any person would have done that.

Thank you Judge for your consideration.

Lourdes de Leon
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5 de Octubre, 2022

Estimado Sr. Juez:

He tenido muchas bendiciones gracias al señor Michael. Estoy donde estoy por la
ayuda que nos dio cuando todo esto sucedió - cuando me quitaron a mi hijo. Fue
en el 2018 cuando me detuvieron en Estados Unidos. Me dijeron que me iban a
deportar. Nos habían quitado todo - hasta los zapatos. Estaba en la estación donde
nos tenían detenidos y me mandaron a otra sala a recoger nuestros zapatos. Me
dijeron que dejara a mi hijo allí. Cuando volví al cuarto ya se habían llevado a mi
niño sin decirme que se lo iban a llevar. Me dijeron que me lo iban a entregar en
Guatemala.

De verdad, de corazón, yo estoy muy agradecida por la ayuda de Michael. No
entiendo por el gobierno nos separo - a mi de mi hijo. Sin el abogado Michael, no
me hubieran devuelto mi hijo. Yo no podía hacer nada desde Guatemala. Fue un
ángel enviado por Dios. Michael trabajo incansablemente. Trabajó muchas horas -
aveces hasta muy tarde y siguió luchando para recuperar a mi hijo. Nunca nos
cobro nada. Le estoy muy agradecida.

Me entere que el abogado Michael se encontraba en esta situación - con estos
problemas. Fui notificada por el otro abogado. Quiero decirle que estoy triste por
lo que esta pasando con Michael - incluso tengo ganas de llorar. Aveces la vida es
muy difícil. El abogado era mi poder. Voy a ser fuerte por el y no sé si cre en
Dios, pero le dije a Michael que aunque esté donde está - que no pierda fe.

Ayudaría al abogado si pudiera. Pero voy a rezar por el. Algún día le agradeceré lo
que hizo por mí y por mi hijo personalmente. Espero que pueda tomar en cuenta lo
bueno que fue con nosotros, todo lo que hizo por nosotros y las otras familias.
Éramos varios los que teníamos el mismo problema - el de que nos quitaron a
nuestros hijos.

Señor Juez, espero que pueda tener esto en cuenta cuando decida qué hacer con
Michael. Ha ayudado a mucha gente y tiene un gran corazón.

Gracias por sus atenciones.

Elsa Ortiz Enriquez
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[TRANSLATION FROM SPANISH TO ENGLISH]

October 5, 2022

Dear Hon. Judge:

I have had many blessings thanks to Michael. I am where I am because of the help he
gave us when all of this happened - when they took my son from me. It was in 2018
when I was detained in the United States. They told me that I was going to be deported.
They had taken everything from us - even our shoes. I was at the detention center and
they told me to go to the other room to get our shoes. They told me to leave my son there.
When I returned to the room they had already taken my son without telling me where they
were going to take him. They said they were going to return him to me in Guatemala.

Honestly, from my heart, I am very grateful for Michael’s help. I do not understand why
the government separated us - me from my son. Without Michael’s help, they wouldn’t
have returned my son. I could not do anything from Guatemala. He was an angel sent by
God. Michael worked tirelessly. He worked many hours - sometimes late into the
evening and he kept fighting to get my son back. He never charged us anything. I am
very grateful.

I learned that the attorney Michael found himself in this situation - with these problems. I
was told by the other attorney. I would like to say that I am saddened by what is
happening to Michael - it makes me want to cry. Sometimes life is very difficult. The
attorney was my strength. I am going to be strong for him and I don’t know if he believes
in God, but I told Michael that even though he is where he is - that he should not lose
faith.

I would help the attorney if I could. But I am going to pray for him. One day I will be
able to thank him in person for what he did for me and my son. I hope you can consider
how good he was to us, all that he did for us and for the other families. There were a
number of us with the same problem - where they had taken our children from us.

Judge, I hope you can take this into consideration when you decide what you will do with
Michael. He has helped many people and has a big heart.

Thank you for your consideration.

Elsa Ortiz Enriquez
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                                 #:23617



                                                 September 15 ,2022



Hon. Judge Selna:

Please be so kind to read this letter regarding Michael Avenatti. By way of
introduction, I am Rick Kraemer owner of a company which provides in court
trial presentation support for litigators in the Southern California legal
community since 1986.

I first met Michael shortly after he joined the law firm of Greene, Broillet,
Wheeler and Panish in the early 2000’s. He had previously worked at
O’Melveny & Myers in Orange County. Over the years we worked closely
together on cases where I witnessed Michaels creative talents, tireless work
ethic and compassion for his clients. We became close ‐ personally sharing
many mutual interests. He worked tirelessly and we quickly became
friends. He has been a friend ever since.

My Godfather (Catholic) once said to me “Rick, there is good in everyone.” I
remember his words daily when evaluating and dealing with people from all
walks of life. People who know I am friends with Michael ask me why I still
communicate with him. I tell them the same thing my grandfather used to
say ‐ there is good in everyone. I don't just say that about Michael. I also say
that about other individuals I come across who have also made mistakes in
their lives.

Michael always talked about his daughters and their importance to him.
Although his daughters lived with Michael’s first wife, he saw them regularly
and was a devoted father. His son from his second marriage is extremely
important to him as well. His family is important to him.




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In the past 20 years, I observed Michael’s high energy, intelligence, and
dedication to his work. Yes, Michael has made mistakes. But as all too often
happens, his hard work on behalf of many deserving clients over many,
many years is sometimes overlooked.

Your honor, I believe Michael can do good for/in society after his release
from his pending sentence. I believe Michael will give hope to his fellow
inmates with his positive attitude and having owned up to his mistakes as he
has done.

Hopefully, you will see things as my Godfather did. There is good in Michael
to be considered.



Respectfully,

Rick Kraemer




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                                                        October 7, 2022



Dear Judge Selna:


I am an Army Veteran. I served for for three years and was a Sergeant when I was
honorably discharged. And I am also a business man and have been for over 50 years. I
met Michael Avenatti around 2004 when my partners and I needed an attorney to
represent us. My business partner introduced us and I immediately liked him. We had a
thriving business, we then partnered with what we now know was a shady company and
we ended up in a civil courtroom with Michael Avenatti as our counsel.

I was impressed with how smart Michael was. I appreciated how hard he worked. He
kept us informed on what was going on and was always open and honest with us. And,
he also took on our case knowing if we lost, he would not get paid. And though we got a
$42 million dollar verdict - the judge ended up tossing the verdict and none of us got paid
- including Michael. I get it, things like that happen. But that didn’t change how Michael
treated us and it didn’t change how hard he worked on other matters he assisted me with.
I also didn’t have a problem referring him to others who needed legal help. Michael was
a fighter and I appreciated that – I liked that about him. He was a good attorney.

Michael was always there for me. When I was in trouble, I could speak to him honestly
and sincerely. There were no judgments. He was always up front with me. And I have
kept in touch with him throughout the years – checking in and speaking to him at least
once or twice a year.

Michael is a family man like me. He’s Italian. I’m Italian. He was a perfect gentleman with
my family. I know he cares about his family. What I saw on television was not the Michael
that I know.

I understand Michael has made mistakes. He made decisions which put him in this
situation. I understand he will no longer be an attorney. He doesn’t take that lightly and it
is hard for him. But, I also know Michael and he will make things right. He will work hard,
do his time and he will find a new path. People make mistakes. Michael plead guilty and
admitted his mistakes.

Your Honor, I hope you will see what we see in Michael. His life will be completely
different after this case. I will be there for Michael when he finishes with his commitment
to the court because he is a good person.

I appreciate you taking my letter into consideration.

Best,

Frank Colapinto
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27                                EXHIBIT G
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27                                EXHIBIT H
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(CBS News) Roxie Williams' family struggled to pay for a proper burial for her father, but
years later when she went to find his grave, the headstone was missing. She has no idea
where her father is. An investigation found that cemetery workers dug up hundreds of bodies
and dumped them in mass graves so they could resell the plots. This Sunday on 60 Minutes,
Anderson Cooper investigates big profits and big problems in the burial business.




Everyday in this country, grieving families spend thousands and sometimes tens of
thousands of dollars on funerals, cremations and burials. They often have to make decisions
quickly, at a difficult time, without doing much research or reading the fine print on
contracts. And while the bereaved may believe they're dealing with mom-and-pop operations
that have been in the community for many years, a lot of funeral homes and cemeteries these
days are owned by big corporations, part of a multibillion dollar industry known as the
"death-care" business.

The nation's graveyards are a lucrative and little-noticed part of the industry. Most of the
time they're every bit as orderly and peaceful as they seem. But when things go wrong, they
can go very wrong, for many years, without anyone noticing. And for the families involved,
it can be a nightmare.

There are more than 40,000 active cemeteries in this country, from small churchyards to
sprawling memorial parks owned by big corporations. We think of them as spiritual places,
sacred ground. But in the cemetery where Roxie Williams' family buried her father, she can
find no peace. She has no idea where her father's body is.

[Roxie Williams: It's row one, and it's lot 16.]



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She was 11 when her father was laid to rest here at Burr Oak, an historic African-American
cemetery in Cook County, Illinois. Her mother, a nurse, struggled to pay for the burial.

Roxie Williams: It's traditional in our culture to give that last rite. My brother and I ate
beans, I mean, we didn't eat because she was so committed to making sure her husband was
put down in a decent fashion.

Anderson Cooper: So, buying that headstone was, financially, a big deal.

Roxie Williams: A burden. I mean, a burden.

That was in 1978. Years later, when she came back to visit her father's grave, she couldn't
find his headstone. When she demanded an explanation from cemetery staff, she says they
acted like she was confused or crazy and threatened to call police if she didn't leave. Roxie
Williams, however, wasn't crazy.

In 2009, acting on an insider's tip, the sheriff's department discovered workers at Burr Oak
had been removing headstones, digging up coffins and dumping remains in mass graves so
they could resell the plots. It soon became apparent an entire community had been deceived.
Hundreds of bodies were thrown out over a period of many years - without anybody figuring
out what was going on.

Tom Dart: We first came out here we found femurs, skulls, parts of jaws, just laying out in
the open.

Anderson Cooper: Laying out on the ground?

Tom Dart: Oh yeah. I mean, we found one right over here.

Cook County Sheriff Tom Dart led the investigation at Burr Oak.

Anderson Cooper: And this was all about greed?

Tom Dart: Oh, absolutely. This was all about greed and overarching that is the fact that these
areas are so horribly unregulated it allows for that to happen.

Anderson Cooper: When you say it's unregulated, what do you mean?

Tom Dart: There was no records of anything. There was no records of how many people are
supposed to be buried here. We couldn't even find a blueprint of the place. And truly, in any
cemetery, do you know underneath the ground who is under there? You really don't know.

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What happened at Burr Oak is unusual, but the conditions that enabled it to go on for so long
without being detected are quite common. Most states have few licensing requirements, no
on-the-ground inspections, not even a hotline consumers can call with complaints.

Josh Slocum: It's sort of the Wild West out there.

Josh Slocum is executive director of the Funeral Consumers Alliance, a nonprofit watchdog
group.
Josh Slocum: There isn't much regulation at all. And what is there, is a patchwork.

Anderson Cooper: Aren't cemeteries regulated by the Federal Trade Commission?

Josh Slocum: No. And that is a goal that we have been trying to get achieved for a long time.
Since 1984, funeral homes have been regulated by the Federal Trade Commission's funeral
rule. You can think of that as a consumer bill of rights at the funeral home. But those rights
stop at the cemeteries.

Under that consumer bill of rights, funeral homes are required to provide their customers
with a clear price list and other disclosures. Those rules, however, generally don't apply to
cemeteries.

In 2004, when Lucy Perez pre-purchased a burial plot at Mt. Olive Cemetery in Chicago for
$2,500, she says the salesman told her she'd paid for everything and she believed him. But
when her grandson died unexpectedly six years later, she was told the cemetery would not
bury him unless she paid an additional $2,550 fee for digging the grave and covering it back
up. That was a month's pay for Lucy, and more than she paid for the plot itself.

Anderson Cooper: So, they were charging you $2,500 or about $2,500 for--

Lucy Perez: $2,500 to take out dirt and put it back in.

Anderson Cooper: Did you think about not paying?

Lucy Perez: We did, we started thinking about maybe going to see a lawyer and stuff
because it didn't sound right. But we were grieving. You know, we had to get my grandson
buried.

Anderson Cooper: So even though you sensed you were being ripped off--

Lucy Perez: Right.



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Anderson Cooper: You had--

Lucy Perez: We had no choice.

Mt. Olive Cemetery may look like a local operation, but since 2006 it's been owned by
Service Corporation International, or SCI, the largest provider of funeral homes and
cemeteries in North America. SCI is known by the brand "Dignity Memorial." Last year the
company reported an operating profit of $363 million.

Anderson Cooper: What's your experience been with SCI?

Josh Slocum: They generate a disproportionately large number of the complaints that we get
from consumers.

Anderson Cooper: Is that just because they're one of the biggest organizations out there?

Josh Slocum: I don't think so because the complaints are so similar. High pressure sales
tactics, misleading or outright dishonest information given to consumers, double-sold plots.

A "double-sold plot" is when the same grave is sold to two different people. That's what
happened to Julie Ramirez's family after her father was buried at SCI's Mont Meta Memorial
Park in Texas in 2001. The manager wanted to move him over to a different spot.

Julie Ramirez: They wanted--

Anderson Cooper: --exhume your father.

Julie Ramirez: --to exhume Daddy right away. They wanted us to--

Anderson Cooper: In order to give the plots to--

Julie Ramirez: Uh-huh (affirm).

Anderson Cooper: --somebody else.

Julie Ramirez: Yeah, absolutely.

Anderson Cooper: Why not just tell the people who hadn't yet buried their loved one that,
"We're gonna have to give you a different plot"?

Julie Ramirez: That was our suggestion. We said, "Look, do not move Dad. Just leave him

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alone."

The cemetery, however, dug him up and moved him anyway - without the family's
permission.

Julie Ramirez: It just didn't seem fair. That was his final resting place. I can see a person
making a mistake but it's the way they handled it afterwards.

Anderson Cooper: Moving the body without your permission.

Julie Ramirez: Moving the body without our permission like thieves.

Michael Avenatti: I think that this company is driven by profits above all else.

Attorney Michael Avenatti has been investigating SCI-owned facilities all over the country.
One of his biggest cases involves Eden Memorial Park, a large Jewish cemetery north of Los
Angeles.

Anderson Cooper: How much does one plot cost, or can it cost?

Michael Avenatti: One plot at Eden Memorial Park Cemetery may cost upwards of $25,000,
on a per square foot--

Anderson Cooper: Twenty-five thousand? To bury one person?

Michael Avenatti: Twenty-five thousand dollars. The average plot is approximately $8,000.
But when you look at this on a per-square-foot basis, this is some of the most expensive
property in California, if not in the country.

With prices that high, Avenatti says SCI had an incentive to squeeze as many customers in
as possible. In a Los Angeles court, he's presented the testimony of groundskeepers who say
they were ordered to cram new graves so close to old ones they had to break existing burial
containers and throw human remains into the cemetery dump.

[Sands vs. SCI Courtroom preliminary hearing, Elias Medina: About 200 graves are missing
bones.]

The case is still being litigated. It's not the first involving the company. In 2003, SCI agreed
to pay more than a $100 million for the desecration of graves at the Menorah Gardens
cemeteries in Florida. In April, Avenatti was busy gathering evidence against another SCI
cemetery in Florida. Acting on a tip, he put divers in a pond at the edge of the Star of David

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Cemetery in North Lauderdale. They found engraved stones and what appear to be parts of
concrete containers used to line graves.

SCI declined to give us an interview. Off-camera, its executives told us the problems that led
to the $100 million settlement at Menorah Gardens began before the SCI purchased the
cemetery, and since then the company has improved its training and procedures. At Star of
David, which SCI acquired six years ago, the company says it's taking the new allegations
seriously but does not believe human remains were dumped in the pond.

At Eden Memorial, where a groundskeeper testified 200 graves are missing bones, the
company says it discovered potential problems with only four graves, and took steps to
notify the families. As for moving Julie Ramirez's father without permission, SCI says that
was against its policy, and it has reached a confidential settlement with the family.

In a statement SCI told us it's "dedicated to providing the highest quality funeral and
cemetery services" and added, "while not perfect...we have consistently raised standards in
this evolving industry.''

Paul Elvig: Obviously, as a corporation, they're not gonna have a policy of somehow, "Work
the public over," or, "Screw the public over." They'd be foolish to do that.

Paul Elvig is a former cemetery operator and regulator and a leading spokesman for the
industry.

Anderson Cooper: When you look at what's gone on just over the last two years in a number
of places across the country, I mean, do you ever just say to yourself, "What is goin' on
here?"

Paul Elvig: Well, I put it in perspective to the volume. When you talk about 6,500 burials
and cremations a day, in over 45,000 possibly active cemeteries, when we look at that, it is
very uncommon.

Josh Slocum: I have no problem conceding that most cemeteries aren't digging up bodies.
But there are everyday, ongoing abuses that happen to funeral and cemetery consumers that
are not headline-grabbing, and that desperately need attention. Financial exploitation,
misrepresentations of legal requirements. Pressuring emotionally vulnerable people into
believing that the more they spend the more love and respect that they're showing for
somebody.

Anderson Cooper: Industry representatives say, look, those are isolated incidents.



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Josh Slocum: Oh, nonsense. It's not a few bad apples. It's not isolated incidents. It's-- it is
embedded in the fabric of the death business in this country.

Paul Elvig: I think any scenario you want to say probably has happened. I don't think it
happens on a broad scale, I really don't.

Anderson Cooper: Is there a lack of oversight of cemeteries?

Paul Elvig: No. I can't buy into that general notion there's a lack of oversight. No.

Anderson Cooper: I just don't understand how you can say that. For instance, again, at Burr
Oak, hundreds of bodies were dug up and tossed away for years and years and years. If there
had been a regulator who came by, any inspector who'd come by, they could've actually
found bones.

Paul Elvig: If they knew where to look.

Anderson Cooper: I've been to Burr Oak. And it's not that hard to find if you're walking
around.

Paul Elvig: I'm aware of the Burr Oak situation. I do know that inspection in that state
seemed to be lax. And I don't think it is now. It's got their undivided attention.

Nearly three years after the Burr Oak scandal, the state of Illinois has adopted new laws, but
has yet to hire its first cemetery inspector. The scandal did prompt Illinois Congressman
Bobby Rush to introduce federal legislation that would apply the same consumer protections
to cemeteries that already exist at funeral homes. But so far, Rush has been unable to find a
co-sponsor in the Senate.

[Sheriff: This is the approximate location of the grave.]

With the help of the sheriff's department, Roxie Williams was able to locate the spot at Burr
Oak where her father's grave is supposed to be. But she has no idea if he's still in it.

Roxie Williams: If I had the money, I'd exhume this durn body and they'd have to prove my
dad was my dad, you know? But sometimes, you just let it go.




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Los Angeles (CNN) – One of the largest Jewish cemeteries in the Los Angeles area has agreed
to an $80.5 million settlement of a lawsuit that accused it of desecrating remains, according to
court documents.

The suit, filed in Los Angeles Superior Court, alleged that employees at Eden Memorial Park, in
Mission Hills, California, “intentionally, willfully and secretly desecrated the remains of
deceased individuals,” often moving them to make room for new remains. The cemetery is
owned by Service Corporation International, or SCI, the largest owner of cemeteries in the
United States.

The court granted preliminary approval of the settlement Thursday.

The case was brought on behalf of more than 25,000 Jewish families, according to plaintiffs’
attorneys.

“This settlement is a testament to the thousands of Jewish families who have been traumatized
because of the conduct of Eden Memorial Park and SCI,” lead attorney Michael Avenatti said in
a statement.

“We have been honored to represent these families and as promised nearly five years ago, we did
not rest until truth prevailed. We are pleased with the settlement and are proud that this lawsuit
resulted in SCI immediately changing its business practices at Eden to ensure this never happens
to another family again,” he said.

This is not the first time Service Corporation International has faced allegations of digging up
graves and moving bodies to make room for new remains. It reached a $100 million settlement
with families of victims whose remains were desecrated at Menorah Gardens in Florida. The
company also reached a $14 million settlement with the Florida state attorney’s office over
issues related to those same claims.



CNN’s Carma Hassan, Abbie Boudreau and Scott Zamost contributed to this report.
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        Business


CPA firm Moss Adams sued for $150 million over Meridian
founder’s Ponzi scheme
Originally published December 7, 2011 at 7:17 pm Updated December 8, 2011 at 11:41 am

The trustee for the bankrupt Meridian Mortgage funds has sued Seattle-based
accounting firm Moss Adams for $150 million, claiming negligent audits allowed
Meridian founder Frederick Darren Berg to pull off what prosecutors called the
biggest Ponzi scheme in Pacific Northwest By

By Rami Grunbaum
Seattle Times business editor


The trustee for the bankrupt Meridian Mortgage funds has sued Seattle-based accounting firm Moss
Adams for $150 million, claiming negligent audits failed to detect the biggest Ponzi scheme in
Pacific Northwest history.

The lawsuit, filed Wednesday in King County Superior Court, faults the nation’s 11th-largest CPA
firm for issuing “clean” audit reports for six of the Meridian funds at various times between 2001
and 2007.

A dozen Meridian funds collapsed in summer 2010, and last August Meridian founder Frederick
Darren Berg pleaded guilty to fraud and admitted diverting “approximately $100 million” to
personal uses and to perpetuate the Ponzi scheme.

“It is impossible to have a fraud that is this pervasive and not have significant audit failures,” said
Los Angeles attorney Michael Avenatti, who filed the suit on behalf of bankruptcy trustee Mark
Calvert.

Had Moss Adams given Meridian the proper scrutiny, “this Ponzi scheme would have come to a
screeching halt years earlier than it did,” Avenatti said.

A Moss Adams spokeswoman did not respond to requests for comment. At least 750 individuals
and others lost more than $150 million in Meridian’s real-estate funds, according to the lawsuit.
(Berg’s plea agreement put the total raised at $280 million.)

The suit alleges that if not for “Moss Adams’ gross negligence and turning a ‘blind eye’ to Berg’s
fraud, investors would have lost but a small fraction of this amount.”

The audits conducted by Moss Adams assured investors the financial statements Berg produced for
his Meridian funds were accurate, says the suit. But once Meridian fell into bankruptcy, it was
discovered that Berg had misappropriated about $45 million to create and run a luxury-bus
company, an additional $11 million to buy and remodel a Mercer Island mansion, and millions more
for condos, yachts and private jets.
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The suit, which also names Berg as a defendant, alleges the CPA firm failed to meet professional
standards in conducting its audits. It also claims Moss Adams “intentionally or recklessly” ignored
warning signs at Meridian and wasn’t a truly independent auditor because Berg was paying it
substantial fees for personal-tax and business-consulting services.

Among other things, said Calvert, “They were discussing taking the bus company public.”

When Berg was indicted, prosecutors said that in 2007 he’d fooled independent auditors by renting
dozens of private mailboxes in the names of fictitious borrowers whose names were on the loans he
created to hide his fraud. The auditor sent loan-confirmation documents to those mailboxes and
Berg personally completed and returned the paperwork, they charged.

Prosecutors also said Berg used “fake loan files, fake loan servicing files, fake bank-account
statements and fabricated accounting workbooks to mislead the independent auditors as to the
true health and makeup of the mortgage investment funds.”

The indictment didn’t identify the audit firm or say whether Berg had used such subterfuges during
previous audits.

In October Calvert obtained a court order requiring Moss Adams to turn over documents and
correspondence dealing with Berg’s personal tax returns. He declined to comment on what those
papers may show.

Excluding the lawsuit, Meridian investors are now estimated to recover approximately 10 percent
of their initial money, Calvert said.
Rami Grunbaum: 206-464-8541 or rgrunbaum@seattletimes.com
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        Business

CPA firm ordered to pay $180K to Meridian trustee
Originally published May 20, 2013 at 11:30 am Updated May 21, 2013 at 10:00 am
By Seattle Times staff

Seattle accounting firm Moss Adams was ordered Friday to pay $180,000 over a judge’s earlier
contempt ruling for not fully complying with a subpoena for audit documents from Meridian
Mortgage investment funds and its founder, Frederick Darren Berg.

Judge Karen Overstreet ordered the CPA firm to pay Meridian bankruptcy trustee Mark Calvert to
reimburse costs he says were incurred because Moss Adams took more than two years to turn over
some documents from its work for Berg, hindering Calvert’s investigation on behalf of creditors.

Calvert’s attorney, Michael Avenatti, said his research indicates the sanction is a record amount
against a U.S. audit firm in a contempt-of-court case.

Kelly Corr, an attorney representing Moss Adams, said the firm believes the ruling is in error and
has asked the judge to reconsider it. “This ruling will have no impact on Moss Adams’ professional
standing,” he added in a statement. “The judge specifically found that there was no evidence of any
intentional withholding of documents.””

Moss Adams, the nation’s 11th-largest CPA firm, audited some of Meridian Mortgage’s real-estate-
investment funds in some years, and it did Berg’s personal taxes as well.

$
years in prison.

Bankruptcy trustee Calvert sued Moss Adams in December 2011, contending
the firm was negligent in its audits of six of the Meridian funds at various times between 2001 and
2007, and should have detected Berg’s fraud.

Overstreet ruled in April that Moss Adams “did not take all reasonable steps” to comply with
Calvert’s subpoena in 2010, shortly after Meridian’s collapse.

Calvert asked for $277,000 after Overstreet’s contempt ruling. But the judge Friday reduced some
claims, and reserved for future consideration Calvert’s request for almost $51,000 in hourly billing
fees.


Seattle Times staff
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Sachdeva Fraud: Another lost soul
without a Wales.
Bill Singer
Contributor
I am a critic of the inept and ineffective
Jan 14, 2011,11:45am EST


On January 20, 2010, a federal grand jury sitting in Milwaukee returned a six-count indictment
charging the former Vice President of Finance, Secretary, and Principal Accounting Officer for
Koss Corporation, Sujata a/k/a “Sue” Sachdeva, 46, with six counts of wire fraud. The
indictment alleged that Sachdeva used her position at Koss to fraudulently obtain more than $31
million from Koss, which she used to purchase personal items and pay for personal expenses.

Koss is a Delaware corporation headquartered in Milwaukee, Wisconsin. Koss designs,
manufactures and sells stereo headphones.

According to the indictment, Sachdeva authorized numerous wire transfers from bank accounts
maintained by Koss to pay for her American Express credit card bills. In addition, Sachdeva
used money from Koss’s bank accounts to fund numerous cashier’s checks, which she also used
to pay her personal expenses.

Unadulterated Greed
In what is becoming an all too common tale, we learn that the thefts were not undertaken in
response to some dire financial emergency or from the need to pay mounting medical bills. No,
to the contrary, the theft in this case is of the more mundane variety. The explanation for these
crimes was not necessity but simply greed – the unbridled desire to accumulate more things.

The indictment alleged that Sachdeva used the stolen funds to purchase clothing, furs, purses,
shoes, jewelry, automobiles, china, statues, and other household furnishings. Beyond the mere
accumulation of personal property, she also stole to pay for hotels, airline tickets, and other
travel expenses for herself and others. Moreover, she used the stolen money to pay for
renovations and improvements to her home, and to compensate individuals providing personal
services to her and her family.

Koss Restatements
As a result of uncovering Sachdeva's fraud, Koss dismissed Grant Thornton, LLP as its
independent auditor effective December 31, 2009, and restated its annual report to disclose, in
part, the following:
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           Unauthorized Transactions — On December 18,
           2009, the Company learned of certain
           unauthorized transactions made by Sujata
           Sachdeva, its former Vice President of Finance
           and Principal Accounting Officer. The Company
           subsequently learned that Ms. Sachdeva
           colluded with two other employees of the
           accounting department in the misappropriation
           and circumvention of the Company’s existing
           internal controls and established operating
           procedures. In carrying out the unauthorized
           transactions, these three former employees
           failed to adhere to the Company’s existing
           procedures for processing payments and
           concealed the misappropriations from
           management, including the directors and
           remaining officers of the Company. Ms.
           Sachdeva and these other former employees
           were terminated shortly after the Company
           learned of the unauthorized transactions. On
           January 20, 2010, Ms. Sachdeva was indicted in
           connection with these misappropriations from
           the Company.


           As previously disclosed, approximately
           $31,500,000 was misappropriated from fiscal
           year 2005 through December
           2009. Approximately $30,900,000 or 98.1% of
           the total $31,500,000 of the unauthorized
           transactions was misappropriated by
           circumventing the Company’s internal controls
           and other operating procedures for the payment
           of Company expenditures by using wire transfers
           or cashier’s checks to pay for Ms. Sachdeva’s
           personal expenditures. Of the $30,900,000,
           approximately $8,500,000 and $5,100,000 was
           misappropriated by use of these means during
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              2009 and 2008, respectively. Misappropriations
              by use of wire transfers or cashier’s checks
              totaled $10,300,000 during fiscal year 2010. The
              balance of the misappropriations of
              approximately $600,000, or 1.9% from the total
              amount of $31,500,000 from fiscal year 2005
              through December 2009, was carried out by
              circumventing the Company’s internal controls
              and other operating procedures involving the
              Company’s petty cash system, manual check
              system and traveler’s checks policy. Out of the
              estimated $600,000 of these types of
              transactions, approximately $91,000 and $110,000
              occurred during years 2009 and 2008,
              respectively. Approximately $107,000 of
              misappropriations involving the use of the
              Company’s petty cash system, manual check
              system and traveler’s checks policy occurred
              during 2010. . .


Additionally, on February 18, 2010, Koss filed an action against American Express Company,
American Express Travel Related Services Company, Inc., AMEX Card Services Company,
Decision Science, and Pamela S. Hopkins in Superior Court of Maricopa County, Arizona, case
no. CV2010-006631, alleging various claims of aiding and abetting breach of fiduciary duty,
aiding and abetting fraud, conversion, and negligence relating to the unauthorized transactions.
Also, on June 24, 2010, Koss filed an action against its former independent auditor, Grant
Thornton, LLP, and Ms. Sachdeva, in Circuit Court of Cook County, Illinois, alleging various
claims of accounting malpractice, negligent misrepresentation, and fraud relating to the
unauthorized transactions.


Cover-Up
Sachdeva clearly knew that she was engaged in fraud because she embarked upon a fairly
extensive effort to cover her tracks. The indictment asserted that she attempted to depict her
thefts as legitimate business transactions by directing other Koss employees to make numerous
fraudulent entries in Koss’s books and records, and to further conceal such entries from Koss’s
management and auditors.
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120 Years in Jail
Each count of the indictment carried a maximum possible penalty of up to 20 years in prison
and a fine of up to $250,000. Sachdeva faced up to 120 years in prison and fines of up to $1.5
million, plus forfeiture of the items identified in the indictment and restitution.

SEC Steps In
About eight months after the indictment, on August 31, 2010, the Securities and Exchange
Commission ("SEC") filed a civil Complaint in the U.S. District Court of the Eastern District of
Wisconsin charging Sachdeva and Julie Mulvaney, Koss’s Senior Accountant, with accounting
fraud, books and records violations and related misconduct arising from Sachdeva's
embezzlement of over $30 million from their employer, Koss Corporation.

The Complaint alleged that Sachdeva and Mulvaney attempted to hide the embezzlement on
Koss's balance sheet and income statement by overstating assets, expenses, and cost of sales,
and by understating liabilities and sales. Because of Sachdeva and Mulvaney fraud, Koss
prepared materially false financial statements and reports. After discovering the embezzlement,
Koss amended and restated its financial statements for fiscal years 2008 and 2009 and the first
three quarters of fiscal year 2010.

The Complaint sought an order to permanently enjoin Sachdeva and Mulvaney from violating
federal securities laws; disgorgement; prejudgment interest; and payment of a civil monetary
penalty. Also, the Complaint sought an order permanently barring Sachdeva from acting as an
officer or director of any public company.

Endgame
On November 17, 2010, in U.S. District Court for the Eastern District of Wisconsin, Sachdeva
pleaded guilty to six counts of wire fraud and was ordered to pay $34 million in restitution and
was sentenced to 11 years in prison.

On January 11, 2011, an order of permanent injunction was entered against Sachdeva in the
SEC’s matter.

Final Thoughts
As is often the case with such descents into hell, I am put in mind of the famous scene in the
movie "A Man for All Seasons" (1966) in which Sir Thomas More is being tried for treason in the
16th Century. Upon hearing the perjured testimony of Richard Rich that will likely condemn
him to death, More learns that Rich's falsehood was apparently rewarded with the position
of Attorney General for Wales. More then delivers the withering line: Richard, it profits a
man nothing to give his soul for the whole world. But for Wales?
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MILWAUKEE
JOURNAL SENTINEL

BUSINESS

Koss settles claims against former auditor Grant
Thornton
By Cary Spivak of the Journal Sentinel
July 05, 2013


Koss Corp. collected $8.5 million from Grant Thornton, the accounting firm that audited Koss'
books during a portion of the time that Sujata "Sue" Sachdeva was stealing millions from the
company.


The payment made Wednesday settles a lawsuit filed in Cook County, Ill., in which Koss charged
Grant Thornton with negligence for not discovering Sachdeva's thievery. Sachdeva's scheme ran
for about 12 years and cost Koss, a maker of headphones, about $34 million. Her embezzlement,
which financed an extravagant lifestyle that included trips and shopping sprees, intensified in
the final years of the scheme.


Sachdeva, who had been the company's vice president of finance, is serving an 11-year federal
prison sentence and is expected to be released in August 2020, according to the Federal Bureau
of Prisons.


"I don't think it is possible to look at the size of the settlement and conclude that Grant
Thornton didn't see some risk if this case came to trial," said Jeremy Levinson, a Milwaukee
attorney not involved in the case. "Every story that gets written on this case, including this one,
is bad for Grant Thornton."


Grant Thornton charged Koss nearly $700,000 for work it performed from 2004 until it
was fired shortly after Sachdeva was arrested in December 2009, according to records filed with
the U.S. Securities and Exchange Commission. Baker Tilly, the auditing firm that replaced Grant
Thornton, collected $570,679 for its first year of work — a time when the FBI, auditors and
company officials scoured Koss' books to determine the level of damages she caused.
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Tracy Coenen, a Milwaukee forensic accountant who criticized Koss management on her Fraud
Files blog, said the company should shoulder the blame for not detecting Sachdeva's crimes
earlier.


"Upper management was at least negligent in not properly overseeing what she was doing and
for not having proper internal controls," Coenen said. Koss "management bears the bulk of the
responsibility, if not all of it."


In 2011, Koss settled a shareholder's suit resulting from the Sachdeva crimes for $1 million and
resolved an SEC action by agreeing to institute better internal controls.


Facebook: fb.me/cary.spivak

Twitter: twitter.com/cspivak
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BUSINESS JOURNAL


Professional Services

Koss to receive $3 million in American Express
settlement in Sachdeva embezzlement case
By David Schuyler –
Digital Producer, Milwaukee Business Journal
Feb 12, 2016



Koss Corp. said Friday that it has settled its lawsuit against American Express Co. related to the
embezzlement of $34 million of Koss funds by a former Koss employee.

The settlement calls for Koss to receive a gross payment of $3 million, but net proceeds will
include expenses relating to attorneys' fees and costs, Koss said in a press release.

“The matter has been resolved to the mutual satisfaction of the parties,” said Michael Koss, CEO
of Koss Corp., a Milwaukee-based designer and marketer of stereo headphones and other audio
products.

Koss (Nasdaq: KOSS) had accused American Express of profiting from the embezzlement
activities by former employee Sujata “Sue” Sachdeva, who spent the stolen funds lavishly on
luxury goods using her American Express account. The accusation and lawsuit came despite the
fact that the embezzlement came to light because American Express alerted Koss of Sachdeva's
potentially fraudulent activity.

Koss alleged that the credit card firm waited months to report that Sachdeva paid an estimated
$20 million of her charge bills with Koss funds. The lawsuit contended that American Express
executives delayed exposing Sachdeva’s activities after discovering the embezzlement in an
effort to avoid losses and to profit from Sachdeva’s business.

American Express had called the claims preposterous and moved to dismiss the lawsuit, which
was filed in 2010. Trial dates in the matter were scheduled for later this month, according to
online court records from Superior Court of Maricopa County, Arizona.

Under the settlement, the parties provided mutual releases that resolved all claims involved in
the litigation between Koss and American Express Co., according to the Koss press release.
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Kimberly-Clark Corp. and its spinoff medical technology firm Halyard Health have been hit with
$454 million in compensatory and punitive damages, after a federal jury found the companies
misled California buyers about the impermeability of their MicroCool surgical gowns.

Jurors in Los Angeles returned the verdict Friday in a class-action lawsuit brought by more than
400 hospitals and health centers in California.

The lawsuit claimed the gowns were falsely represented as providing protection against serious
diseases such as Ebola.

Michael Avenatti, an attorney for the plaintiffs, said during closing arguments that the case was
about failure to disclose important facts to purchasers.

Kimberly-Clark said in a statement Monday that it would appeal the verdict, which it called
baseless and excessive. The company says nearly 70 million MicroCool gowns have been sold
without a single injury complaint.
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During the last major outbreak of the Ebola virus in 2014, more than 500 health care
workers died of the disease, and something called Personal Protective Equipment became
essential to preventing the deaths of even more. We're talking about gowns, gloves,
masks and other gear designed to block the transmission of deadly bacteria and viruses.
They're used every day in hospitals to protect doctors, nurses, and patients. But Ebola was
so lethal, it raised the stakes enormously. If the protective equipment fails, infectious
bodily fluids can get through -- a problem known as "strike-through." At the height of the
Ebola outbreak, we received a tip that a major American manufacturer had knowingly
provided defective protective equipment to health care workers in the U.S. and abroad.
It's a serious accusation that had never been publicly examined until we first broadcast
this story last year.




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If there's one thing that became evident during the Ebola outbreak of 2014, it's that
Personal Protective Equipment, properly used, could mean the difference between life
and death. You probably remember the tragic images from West Africa, and the workers
in biohazard suits trying to help without getting infected themselves.

[Nurses in Liberia praying: May you help us to be a blessing to our patients...]

Certain types of gowns were also used during the outbreak. The nurses at this hospital in
Liberia used gowns and full-body suits to protect themselves after two of their top doctors
died of the disease.

Every day in the U.S., doctors and nurses rely on some of the same gowns the Centers for
Disease Control recommended for Ebola. One of them is the MICROCOOL surgical
gown, made by Halyard Health, which sells about 13 million gowns a year worldwide,
including a quarter of the U.S. market. The MICROCOOL gown is supposed to provide
the highest level of protection available against blood-borne bacteria and viruses. Its label
says it meets a rigorous industry standard known as AAMI Level 4 which means it's
impermeable, so that blood containing viruses like hepatitis and HIV won't get on
surgeon's skin during an operation. There's just one problem.

Anderson Cooper: What was wrong with the Level 4 gowns?

Bernard Vezeau: They would leak. They would leak. When we pressure tested them,
especially in the seams.




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Bernard Vezeau was the global strategic marketing director for MICROCOOL and other
products from 2012 to early 2015. He worked for Halyard Health, which was part of the
Kimberly-Clark corporation until November 2014. When two nurses at a Dallas hospital
became infected after caring for a patient with Ebola, Vezeau says he was relieved the
nurses hadn't been using MICROCOOL gowns, but he was concerned by the way the
company went into high gear to sell the product.

Anderson Cooper: These gowns were being recommended for use with Ebola.

Bernard Vezeau: Aggressively being recommended.

Anderson Cooper: In what way aggressively?

Bernard Vezeau: We put a full court press to drive MICROCOOL sales. We told
hospitals to stock up on our MICROCOOL products. We told 'em to have at least 8 to 12
weeks of product on hand. And that's when things became very difficult for me.

Difficult because Vezeau says he knew the gowns were not consistently meeting industry
standards.

Anderson Cooper: There's a test for this, right?

Bernard Vezeau: There is a test. And it's conducted in outside facilities.

Anderson Cooper: So did your gowns consistently pass this test?

Bernard Vezeau: No, they did not.

Anderson Cooper: Was the FDA aware of this? Were they notified?

Bernard Vezeau: No, not that I'm aware of.

Anderson Cooper: Were customers warned?

Bernard Vezeau: No. Customers were not warned either.

Anderson Cooper: Why not?

Bernard Vezeau: Well, because Kimberly-Clark knew that if they-- they told customers, it
would cost us a lot of business.



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Michael Avenatti: They didn't tell the public. They didn't tell the FDA. They didn't tell
physicians. They told no one. They kept selling the gown to the tune of millions of dollars
every month.

Michael Avenatti is a California attorney who represents hospitals that are suing Halyard
Health and Kimberly-Clark for fraud. He showed us this report by an independent,
certified laboratory that tested the sleeves of MICROCOOL gowns in December 2012 at
the request of one of Kimberly-Clark's competitors, Cardinal Health.

Michael Avenatti: At the time, Cardinal and Kimberly-Clark were in litigation against
one another. And Cardinal had these gowns tested and, in fact-- the results were
disastrous for Kimberly-Clark.

Anderson Cooper: What do you mean, "disastrous?"

Michael Avenatti: Well, if you look through the report, you'll see that 77 percent of the
gowns that were tested failed.

Anderson Cooper: Seventy-seven percent?

Michael Avenatti: Seventy-seven percent.


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At hospitals like UF Health in Jacksonville, Florida, we found surgeons who told us they
repeatedly experienced strike-through, with blood getting through their gowns and onto
their skin. Some surgeons were so upset about it they took pictures of their bloody arms
and gowns and sent them to the company.

Anderson Cooper: Did you receive complaints from nurses, from surgeons at all?

Bernard Vezeau: On these gowns?

Anderson Cooper: Yeah.

Bernard Vezeau: Oh, frequently. On a very frequent basis.

Anderson Cooper: What kinda complaints?

Bernard Vezeau: Oh, complaints of strike-through, sleeves falling off, ties falling off.

Anderson Cooper: Sleeves falling off.

Bernard Vezeau: Sleeves falling off. Sleeves falling off during a procedure.

Anderson Cooper: Were you at meetings where these problems were discussed?

Bernard Vezeau: Every time. We were the ones who were telling senior management the
problems that we were having.

Anderson Cooper: And what was their response?

Bernard Vezeau: Well, it's-- I remember the response one time from the COO was,
"Nobody really cares about this. Nobody really cares about surgical gowns."

Chris Lowery: Yeah, that's just not true.

Chris Lowery is the COO, Vezeau was talking about, the chief operating officer of
Halyard Health.

Anderson Cooper: Did you sell protective equipment for Ebola that you knew was
defective?

Chris Lowery: No. And, frankly, I think the allegations aren't based in the facts.

Anderson Cooper: You're saying they're completely false?

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Chris Lowery: Yes. We get less than one complaint for every million gowns sold. And
even more so is we've never received even one report of a health care professional
contracting an infection as a result of a flaw in our product.

Lowery says Bernard Vezeau didn't raise his concerns until after he left the company;
Vezeau says he was fired because he was vocal about the problems. The company also
questions the motives of this man, Keith Edgett, the former head of research and
engineering for the gowns. In this video deposition, Edgett expresses the same concerns
as Vezeau about what was going on at the company.

[Keith Edgett: I believe that they were putting customers in harm's way, and I was
struggling with that.]

Anderson Cooper: I want to show you the results of a test performed by Intertek Labs. It
shows that 77 percent of your MICROCOOL gowns failed one or both of the sleeves.

Chris Lowery: Yeah.

Anderson Cooper: Seventy-seven percent is a lot.

Chris Lowery: Anderson, it's very important to put this Cardinal test data into context.

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First, extreme outlier test results. We had never seen test data that reflected anything like
this before or, for that matter, since.

Halyard showed us its own test results from independent laboratories. The reports show
the sleeves passed some of the time, and failed at others, but Chris Lowery says they
passed far more than they failed, and when they failed it was at much lower rates than the
Cardinal test suggests.

Anderson Cooper: For the test in February 13, 18 out of 85 samples fail. That's 21
percent.

Chris Lowery: We have to look at a test failure in the context of all the tests that are
passing.

Anderson Cooper: But you have failures in the product. You're still selling the product.
And you don't inform the FDA and you're not informing customers?

Chris Lowery: It's important to understand that the-- no manufacturing process is perfect.
You take that into...

Anderson Cooper: But these failures were above the industry standard. You're allowed a
certain amount of failures. When you actually fail a test, though, that's above the failure
rate that's already built in.

Chris Lowery: And the testing that we completed after the Cardinal testing, we believe
that we were fully compliant with our requirements for the product as it had been cleared.

Michael Avenatti: Is that what he told you?

Anderson Cooper: Yeah.

Michael Avenatti: Evidently he forgot the 11th commandment.

Anderson Cooper: Which is?

Michael Avenatti: Do not lie to 60 Minutes.

The company had shown us this March 2013 lab report as part of its proof the gowns
passed the test. But Attorney Michael Avenatti says that's not what really happened.

Michael Avenatti: They claim to have submitted 79 samples and 75 passed.


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Anderson Cooper: They said they passed, yeah.

Michael Avenatti: Well, they didn't pass; they failed because they didn't submit 79
samples. They submitted 85 samples and, in fact, six of the samples weren't even tested
because the sleeves were so bad. The lab took 'em outta the package and they were so bad
that they didn't even test 'em because it was obvious what was going to happen.

Anderson Cooper: And they didn't include that in as failures?

Michael Avenatti: No, they didn't. And, in fact-- I mean, I brought the document that
shows it. It's a spread sheet prepared internally at Kimberly-Clark.

Anderson Cooper: "Six failed, not tested due to unsealed seams." Lot fails. You're saying
this is an example of fuzzy math?

Michael Avenatti: No, this isn't fuzzy math; this is fraud.

When we asked Halyard about this, the company acknowledged it hadn't told us about
those untested samples but denied it was trying to deceive us. The company says even if a
sleeve seam fails, the risk of a doctor or nurse getting infected is extremely low.

Chris Lowery: They'd have to have some type of cut that would allow transmission. The
defect would have to be in that exact place. The surgeon would have not covered the cut
or abrasion as they should have per their procedure. There's so many factors that have to
align for that to occur.

Sherry Wren: I think it's really easy for him to say that. But he's not the guy doing it.

Dr. Sherry Wren is a vice chair of surgery at Stanford University School of Medicine.

Sherry Wren: The bottom line is, is he going to stand there and volunteer to let me paint
some Hepatitis C blood on his arms and on his stomach? Probably not is going to be my
guess.

Anderson Cooper: And you've had Hepatitis C blood on your arms and on your stomach?

Sherry Wren: Of course.

Dr. Wren specializes in gastro-intestinal surgery, and is co-author of guidelines for
surgeons operating on patients with Ebola. She has no connection to the lawsuit against
Halyard, but she does wear MICROCOOL gowns for procedures like this one, in which
she knew the person she was operating on had Hepatitis C. Shortly after we recorded this

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surgery, Dr. Wren told us she got blood on her arms and hands three times, while wearing
three different MICROCOOL gowns and operating on another patient who also had
Hepatitis C.

Anderson Cooper: We've been told that as long as your skin is intact, you're OK.

Dr. Sherry Wren: Actually with that case, I finished operating at 5:00 in the morning and
I looked down at my hand and I realized I had eroded off a callus. So I had ripped my
own skin in the OR.

Anderson Cooper: It does matter then to you that these gowns are impervious?

Dr. Sherry Wren: Yes. Of course it matters. Do I really want to have somebody else's
infected bodily fluids on my body? No, I do not.

Internal documents we obtained suggest the company knew for a long time that it had a
problem which is why we wanted to ask the COO Chris Lowery about this November
2014 PowerPoint presentation that identifies a year-and-a-half "gap in sleeve seams
passing" the industry test.

Anderson Cooper: We've been told that in November of 2014, a timeline was presented.
And your own people acknowledged that there was a year and a half period in which the
sleeve seams didn't pass the test, which demonstrates the gown is impervious. Is that true?

Chris Lowery: It's not.

Anderson Cooper: This is the presentation and on the second page it says--

Chris Lowery: Yeah.

Anderson Cooper: --gap in sleeve seams passing ASTM 1671. And it shows a year and a
half gap.

Chris Lowery: Yeah, Anderson, if it's OK, I've not seen this presentation, to my
recollection. And so I don't think that it's appropriate, particularly out of any context, to
react to it.

Anderson Cooper: Do you think stuff like this happens--

Chris Lowery: I think and Anderson probably from a time perspective, if you don't mind--

Anderson Cooper: You want to stop?

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Chris Lowery: Yeah, I mean, I think that-- we probably-- I think we've spent the time that
we agreed to. And team?

After our interview, Halyard told us it was not required to meet new more-stringent
testing criteria during that gap shown on the timeline. By January 2015, the company says
it had new sealing machines in place to improve the quality of its sleeves. But before the
new machines were up and running, the company sold thousands of MICROCOOL
gowns to the CDC's Strategic National Stockpile of medical supplies, for use in future
outbreaks and emergencies.

Anderson Cooper: Are federal or state authorities looking into this at all?

Michael Avenatti: I can't comment on that. They certainly should be because forget about
the civil liability-- this is criminal conduct.

In its most recent annual report, Halyard Health said it had been "served with a subpoena"
that is related to "a United States Department of Justice investigation." The Justice
Department and the Food and Drug Administration, which regulates medical devices,
declined to comment further.

Anderson Cooper: The company's said to us basically, there's no evidence that anybody
got sick or died directly related to a failure of any gowns. If it was so egregious wouldn't
there be many cases or even one clear case that you could point to that says, "Look, there
was this failure of a gown and this doctor became infected with Ebola or HIV or any
other disease?"

Michael Avenatti: Until now why would any doctor or nurse, have any reason to question
Kimberly-Clark's representations regarding the effectiveness of this gown? This story
may, in fact, be the first time that physicians and nurses who have contracted disease take
a step back and say, "You know, maybe that's how I got it."

Since our story first aired, one of the people we interviewed, former marketing director
Bernard Vezeau, has passed away. Also in April, after a nine-day trial, a Los Angeles jury
found Kimberly-Clark and Halyard Health liable for fraud and awarded $454 million
dollars in damages. Both companies say they will challenge the decision in court.

Produced by Andy Court and Sarah Fitzpatrick.




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CDC "quarantines" its own equipment


UPDATED ON: AUGUST 11, 2017 / 9:52 AM / CBS
NEWS

The Centers for Disease Control and Prevention (CDC) says it has "quarantined" some of its own
stock-piled equipment following a 60 Minutes report that questioned whether the gear,
recommended for protection against the Ebola virus, was defective.

The 60 Minutes story quoted former employees and internal company documents regarding
MICROCOOL surgical gowns made by Halyard Health (formerly a division of Kimberly-
Clark). The investigation first aired in May 2016 and was re-broadcast this Sunday at 7 p.m. ET
on the CBS Television network.




The 60 Minutes report "Strike-through,"reported by Anderson Cooper, first aired on May 1,
2016.C B S N E W S
Based on documents obtained under the Freedom of Information Act, 60 Minutes reported that
MICROCOOL gowns were part of the U.S. Strategic National Stockpile of medical supplies for
use in future outbreaks and emergencies. The stockpile is maintained by the CDC.


https://www.cbsnews.com/news/cdc-quarantines-its-own-equipment/
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In response to an inquiry from 60 Minutes, the CDC sent the broadcast a statement saying, "The
gowns are being quarantined within the SNS [Strategic National Stockpile] inventory and there
are no current plans to use them." The CDC's full statement can be found here.

In April, a group of hospitals sued Kimberly-Clark and Halyard Health in Los Angeles federal
court over the alleged defects in the MICROCOOL gowns. After a nine-day trial, a jury found
the companies liable for fraud and awarded $454 million in damages. Kimberly-Clark and
Halyard Health are challenging the decision in court.

In a statement to 60 Minutes after the story was rebroadcast, Halyard Health said its gowns had
passed tests conducted by the CDC's National Institute for Occupational Safety and
Health, proving that they meet the "highest standards" in the industry. "We continue to stand
behind the quality and efficacy of our MicroCool gowns," the statement said.

But attorney Michael Avenatti, who represented the plaintiffs in the recent Los Angeles court
case, said in response to the CDC statement, "The CDC has finally determined what we have
known for years and what the federal jury determined in April -- the gowns are defective and
place healthcare workers at risk for serious injury and death. You don't quarantine a product that
has no problems and is safe."

Reported by Andy Court, Sarah Fitzpatrick & Evie Salomon.




https://www.cbsnews.com/news/cdc-quarantines-its-own-equipment/
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Public Justice’s 2018 Trial Lawyer of the Year award was awarded to two legal teams: one
that won a significant jury verdict regarding faulty medical equipment that was marketed
as safe despite the manufacturers’ knowledge to the contrary, and the other that ended
fraudulent debt collection in Florida and reimbursed victims. The award was presented on
the evening of Monday, July 9 at Public Justice’s Annual Gala & Awards Dinner at the
Denver Center for the Performing Arts in Colorado.

Bahamas Surgery Center v. Kimberly-Clark was a class action lawsuit concerning
MicroCool surgical gowns which were marketed as the safest and most protective gowns
in the world, and were recommended for healthcare professionals working with Ebola
patients or those performing surgeries on patients with HIV/AIDS or Hepatitis. However,
the gowns’ manufacturers—Kimberly-Clark Corporation and Halyard Health, Inc.—knew
as far back as 2012 that the gowns were defective and had failed numerous tests, but failed
to alert the FDA, health professionals, or patients. Employees who knew too much were
fired and the manufacturers even exploited the Ebola crisis to increase sales, selling
millions to unsuspecting medical professionals.

When sued, Kimberly-Clark and Halyard paid their own lawyers more than $50 million
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trying to avoid accountability. They fought on every front, even seeking to disqualify
plaintiffs’ counsel. Eventually, a unanimous jury awarded more than $454 million in
punitive and compensatory damages against them. The Centers for Disease Control and
Prevention subsequently “quarantined” some of its own stock-piled MicroCool gowns and
announced it had no intention of ever using them.

Inetianbor v. Western Sky Financial was a class action against predatory payday lender
CashCall, notorious for charging excessive interest rates and then evading justice by
forcing borrowers into a Native American tribal law-based arbitration system that, it
claimed, was protected by tribal sovereign immunity and off-limits to American courts.
One CashCall client, Abraham Inetianbor, already had a federal court order entered against
him forcing him to arbitrate against CashCall when he contacted the law firm of Wallace &
Graham for help. Using recordings of the arbitration, the firm persuaded the court to vacate
its prior order. That ruling was upheld by the federal appeals court, allowing Inetianbor his
day in court.

Critically, the ruling also enabled his counsel to challenge and stop a proposed settlement
with CashCall in South Dakota that would have recovered $7 million for all claims
nationwide. After they did so, state-by state settlements with CashCall were reached for
more than ten times that amount. In Florida, for example, a settlement worth nearly $30
million was obtained. Coordinating closely with the Florida Attorney General and Office
of Financial Regulation, the legal team won payment of fines and restitution to Florida
agencies, $14,417,810 for the class members, and the voiding of thousands worth nearly
$15 million. The defendants were permanently enjoined from future lending in Florida.

The other finalists for the award were Cote v. Wal-Mart, and Vang v. Prataya, read about
the accomplishments of those finalist teams here. Information about previous TLOY
winners is available here.

2018 Trial Lawyer of the Year Teams:

Bahamas Surgery Center v. Kimberly-Clark

Lead counsel: Michael J. Avenatti, Eagan Avenatti LLP, Newport Beach, CA. Co-counsel:
Edward Ricci, Ed Ricci Law, Palm Beach Gardens, FL; Ahmed Ibrahim, Filippo
Marchino, Eagan Avenatti, LLP; William C. Hearon, Miami, Fla.

Inetianbor v. Western Sky Financial

Lead counsel: Mona Lisa Wallace, Wallace & Graham, PA, Salisbury, NC; Janet Varnell,
Varnell & Warwick, PA, Lady Lake, FL. Co-counsel: John S. Hughes, Wallace & Graham;
Cathy Anne Williams, and Aaron Goss, formerly of Wallace & Graham; Brian Warwick,
Varnell & Warwick.
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Guatemala City, Guatemala (CNN) — Antony Ortiz walked into the courtroom in Houston
wearing a light gray hoodie, khakis and black tennis shoes with red laces. He looked his age, but
he didn’t act it. He didn’t smile or fidget. He sat up straight and waited patiently.

The 9-year-old was filled with hope that Tuesday would be the day he finally reunited with his
mother. The two had been separated for 81 days since they arrived together at the US-Mexico
border. Under the Trump administration’s zero tolerance policy, Elsa Ortiz Enriquez, had been
sent back to Guatemala without her son – and she had been fighting to get him back ever since.

Meantime, Antony had been among more than 380 children who, as of last week, were in the
custody of the US Department of Health and Human Services, or HHS, and whose parents had
been deported, data reported by the government show.
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At 9 a.m. on Tuesday, the judge called his case. By 9:15 a.m., Antony was wiping away tears.

Through big headphones filled with a court translator’s voice, Antony learned that Immigration
Judge Chris Brisack ruled that he could “voluntarily depart” the United States, a process that
could take the government as long as 60 days to arrange. The prospect of having to wait two
more months to see his mom rattled the boy and his attorneys.

But then, just hours later, a phone call brought unexpected news – and Antony was boarding his
first flight ever, en route to his mom.




Unlike many children brought to court by the vanload, Antony had private attorneys: Michael
Avenatti, perhaps best known for representing adult film star Stormy Daniels, who has alleged
an affair with President Donald Trump, which he denies; and Ricardo de Anda, a civil rights
attorney Avenatti hired to assist in the case.

Avenatti had gone to court Tuesday offering a quick solution: At his own expense, he’d been
ready to escort Antony back to his mother the same day. But the government insisted on its own
process, and the court set a timetable of no more than 60 days.

Antony cried at the prospect that he’d have to wait even longer to see his mother again. And
Avenatti fumed.

“This is an outrage, and now we have to work through bureaucratic red tape in order to ensure
this boy is released at some point, and it could take upwards of 45 to 60 days. It makes no
sense,” Avenatti said. “I am offering to take him today, right now.”

Avenatti and de Anda broke the news to Antony’s mom by phone. She said she’d been nervous,
waiting to hear what happened. They told her it might be another 60 days until she could see her
son again. She began to cry.

“I am crying because I cannot do anything. I am not there,” Ortiz Enriquez said in Spanish. “I
thought about going back and finding him, but they told me that would complicate things.”




Then, Avenatti’s phone rang. It was an HHS official.

She’d heard about the lawyer’s offer to temporarily take custody of the child and return him to
his mom. She didn’t understand why the government attorney or the court hadn’t just agreed to
it, especially since the Justice Department has faced pressure from a federal judge who ruled the
government must reunite as quickly as possible families separated under the zero tolerance rule.
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Several conversations later – and eight hours after the court hearing – HHS employees escorted
the 9-year-old to George Bush Intercontinental Airport and handed him over to his lawyers.
Antony boarded a plane with de Anda and Avenatti, whose sudden foray into the immigration
debate raised eyebrows after he announced he was seriously considering running for President.




But Avenatti, who said he’s taken on dozens of similar cases, pushed back on critics who claim
his immigration casework is all about the news coverage.

“That is ludicrous. This isn’t a publicity stunt. I’ve been quietly representing dozens of families
for weeks now, traveling around the country doing good work,” he said. “My record speaks for
itself.”




Three hours later, Antony landed in Guatemala City.

His mother saw him and fell to her knees. She grabbed him, her tears flowing.

The boy used both his hands to wipe her face. He told her not to cry.

But she wept all the more. And again, he wiped her tears.
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“I started crying with joy, and he kept telling me not to cry because if there is one thing he does
not like is seeing me cry,” Ortiz Enriquez told CNN.

Her son was tired and shy, surrounded by strangers. His mother was relieved and thankful.

“It’s such unexpected news. It’s a miracle God’s given me,” she said. “I never thought I was
going to be surprised. It was supposed to just (be) a day in court.”
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Stormy Daniels’ attorney, Michael Avenatti, helped reunite a a nine-year-old Guatemalan boy
with his mother this week.

CNN reported on Wednesday that Avenatti completed the effort on Tuesday while representing
Antony Ortiz Enriquez, who had been separated from his mother, Elsa Ortiz Enriquez, for over
two months as a result of President Trump’s “zero tolerance” policy at the southern border.

{mosads} Antony had arrived at a courtroom in Houston earlier this week after being in the
custody of the U.S. Department of Health and Human Services. His mother on the other hand
had already been deported back to Guatemala, according to CNN.

Antony was told by a judge that day that he could “voluntarily depart” the U.S., a process that
could take the government as many as 60 days.

That’s where Avenatti came in, who, along with civil rights attorney, Ricardo de Anda,
represented Antony in his case. Avenatti said at the court on Tuesday that he would be prepared
to escort Antony back to Guatemala, but the court insisted that its procedure be the one carried
through, according to CNN.

“This is an outrage, and now we have to work through bureaucratic red tape in order to ensure
this boy is released at some point, and it could take upwards of 45 to 60 days. It makes no
sense,” Avenatti said, according to CNN. “I am offering to take him today, right now.”

CNN notes that Avennatti was later reached by an HHS official who agreed that the attorney’s
offer to take temporary custody of Antony and reunify him with his mother was justified.

Eight hours after the court hearing, HHS employees escorted Antony to George Bush
Intercontinental Airport and handed him to Avenatti and de Anda. Three hours after that, Antony
arrived in Guatemala and was greeted by his mother, according to CNN.

“It ends today at 81 days for Antony and Elsa,” Avenatti tweeted. “But continues for over 500
others…”

Avenatti’s effort to reunify the Guatemalan child with his mother comes as many lawmakers
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continue to scrutinize the Trump administration over how it will reunite every family that was
separated at the U.S.-Mexico border.

Avenatti is currently representing adult-film star Stormy Daniels, who is suing President Trump
and his personal attorney Michael Cohen for defamation and to void a nondisclosure agreement
that blocks her from speaking publicly about an alleged affair with Trump years ago.

But he’s also offered offered legal services to migrant parents who have been separated from
their children. In addition, he’s continued to make his voice heard on issues related to
immigration, and has said he’s considering running for president in 2020.
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September 25, 2022



Honorable Judge Selna,

My name is Michelle Rodier Greene. I am writing to share some of my personal experiences with
Michael Avenatti. I have known Michael for almost thirty years. I knew Michael as a college student at
the University of Pennsylvania, a law student at George Washington University, a husband to my sister,
my brother-in-law and a father to my intelligent, beautiful nieces. It’s been weird to see his name and face
on TV and in the media these past few years, to see such a single sided portrayal of a man I consider
family.

Back in 1992, my sister, Christine, met Michael and he quickly became a part of our family. During the
course of their relationship, I learned a lot about Michael and the tremendous impact that his childhood
had on his life. From financial stressors, his father’s forced retirement and his mother’s alcoholism,
Michael’s youth lacked the tenderness, love and security that allows a child to thrive emotionally.
Michael was forced to grow up quickly. Knowing that he deserved more, Michael was determined to
attend the University of Pennsylvania and pursue his dreams. Without the financial help of his family,
Michael moved to Philadelphia and funded his own education. During his time at the University of
Pennsylvania, Michael attended class and worked tirelessly on his coursework. At times, we even shared
the same Macintosh computer in my parent’s home. Whenever he wasn’t studying or attending class,
Michael was working to pay for his education. My sister would often drive him so that he could work in
the car. His dedication to his education and future was nothing short of remarkable.

In June of 1992, my mother was diagnosed with a serious heart condition. Over the years that followed,
my sister, Christine, and Michael were a part of the circle that surrounded my mother. This circle gave her
the love and support needed to live another seven years. Michael and Christine even moved into our
family home to be closer to her. As a family, we supported each other through all of life’s challenges. My
parents and sister worked hard to support Michael through law school. They knew that Michael wanted to
make a difference in this world so sacrifices were made to help make his dream come true. While Michael
was still attending law school, my mother passed away in June of 1999. Michael offered financial
assistance to help give my mother the funeral that she deserved. After burying my mother, I decided to
change my wedding plans for the following November. It was too emotional planning a wedding without
my mother. It was then that Michael offered to pay for my husband and I to travel to Hawaii for a small,
beach wedding. Not only did Michael pay for our trip, but he served as our official wedding
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photographer. It was a special trip with beautiful memories. I will always be grateful for these acts of
kindness and selflessness.

In April of 2002, I was blessed with my firstborn child and my sister flew in to visit. She couldn’t wait to
share that she and Michael were expecting their first child. Knowing the painful details regarding
Michael’s childhood experiences, I knew that he was determined to give his children the childhood that
he did not have. The excitement that my sister had when she told me about her pregnancy was equally
shared by Michael. When my sister went into early labor with her first daughter, Michael was on a flight
on the way back from a trial in New Jersey. His inability to be at the hospital gutted him. I vividly
remember his phone call to me from the airplane. It was heartbreaking. From that moment on, I knew that
Michael would do whatever he could for his family. When their second child arrived, I received a bright
and early morning phone call from the west coast. It was the proud father once again beaming about his
new daughter. While visiting the Avenatti’s in California each summer, I was able to witness Michael
parent his little girls. From walks to Starbucks for a treat, trips to Build a Bear and riding elephants at the
Orange County Fair, the love that Michael has for his girls and their adoration of him was always
beautiful to witness. As the girls move into adulthood, their relationship with their father will enter a new
phase. This phase is made even more complicated by current circumstances but I know how valuable their
father-daughter relationship is to both Michael and the girls. It’s a relationship Michael prioritizes and
will fight for. The girls want and need him to be a part of their next chapters – college, relationships,
marriage and their own children.

The media has portrayed Michael to be someone different than the man that I have known for decades.
The man that will be sitting before you has provided for his ex-wife and children, loved his family and
made a difference in the lives of his loved ones. I am asking you to please take this information into
consideration when deciding upon Michael’s future.



Sincerely,




Michelle R. Greene
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                                                                                                      October          3, 2022




Hon.     Judge          Selna



Michael          Avenatti          was      my      next          door        neighbor           during         his home            confinement                     due     to the

extraordinary              circumstances                     of Covid-19.                  Ididn' 't know             who        he was          until we           started

talking        over the         fence        and        became                "pod     friends



I was     struck         by his intelligence                      and      generosity.             We     had        many         long         conversations                    during

that     time      and      his love for this                     country        was        immediately                apparent               along        with      how        much

he     cared      about         our    justice          system            and        the direction             of the        country           in     general.        Despite

his predicament,                   he rarely            complained



It was     sometimes                  difficult to           watch            when         his young          son     visited           and     they        would          have           to

play     catch      in the        limited          space          near        the      outside        stairs. But           it was        obvious            that     Michael

was      a natural          at fatherhood                    as they          had      fun just         being        with        each      other.          I also     had       the

opportunity               to meet           his older             daughters             and      they    were         always            very        sweet,        smart          and
supportive              young         women.            Especially              considering             the circumstances


Another          thing that struck me                         about            Michael          was     how      he        genuinely            cared         about         what

was      going      on in my            life, and            he    supported               me     through            the    tough         Covid            years.     I am           a

freelance          musician             so all of my               work,         recording            sessions,            and     tours,           were      canceled.                  His

tiny bedroom                looked           over       my        backyard             and      music     studio.            Often        times,           I would         practice
piano      after         dinner       and       when          I walked              back     to the      house         there        was         a big       smile         and

applause          waiting         for       me.     Believe          me,         that      felt so      good



I cant      imagine            how       hard       it must              be for Michael,                coming         from         his humble                beginnings                  to

being      one      of the        best      legal        minds           of     his generation                back     to    being            humbled.            A far         as I can

tell, he has            handled          it with        as        much         grace       as could        be    expected.                I know           when       he        has

paid     his     debt     to      society,         he    will keep              paying          it forward,           that's       the        kind    of man          he        is




  hankY




John              sley
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October 3, 2022


Dear Honorable Judge Selna

My name is Jamie Avenatti-Kryck. I am Michael Avenatti’s cousin. I too
would like to shed some light on the Michael Avenatti that I have known for
my entire life, and the person that I grew up with.

When Michael was a child, he was definitely diTerent from other kids --
very wise and extremely observant. He seemed to be already grown up by
the time he was ten years old. He grew up as an only child even though he
had two older half siblings. His older half-sister and half-brother had
already left home at very young ages due to issues with his mother.

He was very close with his Grandmother Katherine, as was I, and my
parents as well. He spent as much time with his grandmother in Southern
California as he was able to. His Grandmother was actually the role model
that he was closest to growing up. He spent time in the summers with his
Grams, as he called her, and they would even come to our house and stay
in Huntington Beach. He also spent any holidays that he could with her.
She was a very kind and loving person in his life.

Unfortunately, he had a very difficult childhood when he was at home with
his mother. She was an alcoholic and had some very obvious mental
health issues towards her children. Her two oldest children are estranged
from her, and she was only really interested in seeing Michael after he
started making money in his professional life. He graduated first in his class
at George Washington University and his own parents didn’t even attend
his graduation. His father knew never to cross his wife -- he knew the wrath
of her would be intolerable. His grandmother Katherine passed away in
2007, that was a very difficult time. Michael and Christine were always
there for my Auntie K as I called her. She was my great Aunt, and I adored
her. I was so grateful for how Michael took care of her at the end of her life.

The Michael that I knew always worked extremely hard and was gifted in
life, and with the help of his first wife Christine and her family, he was able
to go to law school. I always knew he would go far in his life and become
well known, but unfortunately, not the way the media has made him out to
be.
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He truly cares about his family, his daughters, and his very young son. I
am sure if he could go back to the beginning of the last ten years or so and
make changes and different choices he would. The person who he became
in the last decade is not the person that I grew up with my entire life. He
has still so much to offer people that I don’t think that his actions in the last
decade make up his entire future for the rest of his life. It was a different
time in his life that I know he regrets. Unfortunately, so much of how our
behavior as an adult stems from our childhood. Everything that we
experience shapes us into the person that we become as adults, good and
bad experiences.

Michael worked with what he had to become the “right” person in life.
Unfortunately, he had some very difficult obstacles to overcome that were
completely out of his control. His core personality is actually a person
always wanting to please. He was always working. I think that’s where he
always felt most comfortable in his life.

It is so unfortunate how the last decade has played out. He is still a fairly
young man in today’s modern world. Please take into consideration all
things about Michael and about his family and his children.

Thank you for your time and consideration.

Jamie L. Avenatti-Kryck
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           C hristmas means
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            and the mystery                                         Christmas means

             of Santa Claus.                                          special people
                                                               •

                                                                         like you.

           Ch  ristmas means
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       H.      Additional Factors That Support a Variance

       Avenatti requests a downward variance from the guidelines range recommended in the PSR

due to the inhumane conditions of his confinement while at the MCC before, during, and after

trial. The degree of punishment inflicted on Avenatti before sentencing is unique in our justice

system – and rightly so. It is intolerable and should not be inflicted on anyone.

       On the evening of January 14, 2020, with the trial in this case scheduled to commence the

following week, the U.S. Attorney’s Office in California caused Avenatti to be arrested while he

was attending a State Bar hearing in Los Angeles. The Court noted that the timing of the arrest

was especially troublesome, given that the alleged conduct used by the government to justify the

arrest had been known to the government for months prior.21

       Upon being booked in the Santa Ana jail that night, Avenatti was placed in solitary

confinement in a wing of the jail generally reserved for violent inmates with disciplinary

problems.22 Avenatti’s request to take a shower upon his arrival was denied. The following day,

despite repeatedly asking to be housed in general population, Avenatti remained in solitary

confinement. He was again denied a shower. On January 16, 2020, Avenatti spent the entire day

in his cell with no ability to use the phone, or have any contact with his attorneys.

       Early in the morning of Friday, January 17, 2020, Avenatti was removed from his cell and

flown to Teterboro, New Jersey. At all times, he was handcuffed, shackled at the waist and

required to wear leg irons around his ankles. He was permitted to use the toilet only with the door



21
  The timing of his arrest resulted in a substantial waste of taxpayer money because Avenatti
subsequently had to be flown, accompanied by three U.S. Marshals, on a chartered private jet from
Orange County to New York.
22
   Prior to March 2019, he had never been charged with any crime, let alone convicted of any
crime.


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open. He still had not been permitted to shower. He was transported to the MCC, whose

substandard conditions are widely considered among the worst, if not the worst, in the nation.

        Despite Avenatti’s repeated request that he not be placed in solitary confinement, the

Bureau of Prisons placed him in the notorious “10 South” unit of the jail,23 a unit of only six to

seven individual cells that is considered the highest security pre-trial facility in the United States.

It typically holds those individuals classified as the most dangerous and who pose dire national

security threats to the United States (e.g., international terrorists and drug kingpins, such as Joaquin

“El Chapo” Guzman and Sayfullo Saipov, who currently faces eight murder charges and the death

penalty for an alleged terror attack carried out in New York City in 2017).24 Avenatti’s cell

previously had been used to hold “El Chapo” Guzman before, during, and after his trial in

Brooklyn, New York. The abhorrent and brutal conditions of 10 South have been widely reported

and routinely described by experts as being “diabolical,” a form of torture, worse than those at

Guantanamo Bay, and causing severe psychological trauma.25


23
   The extreme isolation and brutal conditions of 10 South have been described as “a punitive
measure that is unworthy of the United States as a civilized democracy,” according to a former
special monitor on torture and punishment for the United Nations who investigated the case of one
prisoner held in the unit. See Evidence from US experts to the House of Lords Select Committee
on the Extradition Law, Center for Constitutional Rights (Sept. 12, 2014), https://ccrjustice.org/
sites/default/files/assets/files/US%20experts%20submission%20to%20House%20of%20Lords%
20extradition%20committee.pdf (accessed June 8, 2021), Sally Eberhardt and Jeanne Theoharis,
Five Years Ago, Obama Pledged to End Torture. He Still Hasn’t, The Nation (Jan. 22, 2014),
https://www.thenation.com/article/archive/five-years-ago-obama-pledged-end-torture-he-still-
hasnt.
24
  The government has never adequately explained why Avenatti, a 48-year-old American attorney
with no history of crime or violence and who had yet to be convicted of anything, was held in
solitary confinement for 24 hours a day in the highest security pre-trial unit in the United States,
which is almost uniformly reserved for suspected terrorists and those facing the death penalty for
acts against the national interests of the United States.
25
  See, e.g., Jeanne Theoharis, I Tried to Tell the World About Epstein’s Jail. No One Wanted to
Listen, The Atlantic (Aug. 16, 2019), https://www.theatlantic.com/ideas/archive/2019/08/real-
scandal-mcc/596257, Arun Kundnani, The Guantánamo in New York You’re Not Allowed to Know


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       Despite repeated requests by undersigned counsel and Avenatti that he be moved from 10

South, he was held in solitary confinement in the unit for nearly five weeks (except for time in

court or in attorney meetings) until February 20, at which time Avenatti was finally placed in

general population in Unit 5 South. During the five weeks he was confined to 10 South, Avenatti

was not permitted to go outside to breathe fresh air or see the sky. For the first three weeks, a

guard was stationed immediately outside the door of his cell 24 hours a day. He was rarely

permitted to view any television, was not allowed to use a radio, and was never permitted to read

a newspaper. He was not permitted a single social visit.26 His every move (including showers and

use of the toilet) was recorded on two cameras located inside his cell, and he was told that if he

tried to cover himself when using the toilet, he would be disciplined. He could not control the

lights within his cell, which were routinely left on without interruption. The temperature inside

his cell reached approximately 45 degrees Fahrenheit at night. Attorney visits and access to

discovery materials were also repeatedly delayed and often restricted. Further, Avenatti was not




About, The Intercept (Feb. 5, 2016), https://theintercept.com/2016/02/05/mahdi-hashi-
metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-confinement,    Mary
Emily O’Hara, NYC’s ‘Little Gitmo’ Holds Terrorism Suspects in Extreme Isolation for Years,
Vice (Apr. 7, 2014), https://www.vice.com/en_us/article/vbnpg9/nycs-little-gitmo-holds-
terrorism-suspects-in-extreme-isolation-for-years, Aviva Stahl, Prisoners Endure a Nightmare
‘Gulag’ in Lower Manhattan, Hidden in Plain Sight, Gothamist (June 19, 2018), https://
gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-
sight, Joseph Goldstein, Manhattan Jail That Holds El Chapo Is Called Tougher Than
Guantánamo Bay, N.Y. Times (Jan. 23, 2017), https://www.nytimes.com/2017/01/23/nyregion/el-
chapo-guzman-manhattan-jail.html, Larry Neumeister and Michael Biesecker, For Inmates Like
Epstein, Suicide Watch is Meant to be Short, Associated Press (Aug. 14, 2019),
https://apnews.com/article/6bd16a2216664ca1bf8eabbfebc72c7c.
26
   Avenatti was never permitted a social visit during his approximate 100 days at MCC, even
though his family and close friends went to great lengths to attempt to see him, including traveling
to New York only to be turned away at the facility.


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allowed to have email access. His calls, including attorney calls, were severely limited, and he

was not permitted to use the law library. He was generally cut off from the outside world.

       On February 27, 2020 – a mere seven days after he was moved out of 10 South – the entire

MCC was placed on lockdown status after it was discovered that a corrections officer had

smuggled a loaded firearm into the facility and provided it to an inmate. Attorney visits and contact

were immediately and indefinitely suspended that day. All inmates were locked in their cells 24

hours a day so that a search could begin prison-wide for the firearm. “Sort” teams (i.e., SWAT-

like teams) and other corrections officers from maximum security United States Penitentiaries

from across the country were brought to MCC to conduct repeated cell raids, often in the middle

of the night.27 In the 13 days that followed, Avenatti was permitted only two showers, each five

minutes in length. He was locked in rat-infested cells 24 hours a day with no clean laundry;28 he

was cut off entirely from his counsel and family; he had no phone or email access; and he was not

given a single hot meal. Instead, he was fed frozen peanut butter and jelly sandwiches every night

for 13 nights straight, to be later followed by an additional 32 nights straight.

       On March 10, 2020, days after the firearm was recovered, MCC finally removed the

lockdown status and Avenatti was transferred to Unit 11 South. Only 12 days later, on March 22,

2020, his unit was again locked down for what was then described as a “staff shortage.” The next


27
  For instance, Avenatti had his cell searched seven times by officers in full tactical gear, often at
3:00 or 4:00 a.m., across thirteen days. At one point, Avenatti, together with other inmates, was
required to place his hands on his head for three consecutive hours and was told if he removed his
hands, there would be “hell to pay” and he would get a “shot” (a disciplinary charge) and taken to
the SHU. He was also strip searched repeatedly. Further, his personal property, including many
of his legal documents, were taken and “lost.” During one strip search at approximately 3:30 in
the morning on March 4, a corrections officer said to another “He doesn’t look as tough now as he
thought he did when he was going after Trump on TV.”
28
  Avenatti was ultimately allowed one change of clothes and sheets across approximately five
weeks.


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day, March 23, 2020, MCC informed his unit that it would remain locked down and quarantined

as a result of an inmate in the unit testing positive for COVID-19. All attorney visits were once

again stopped; all law library/discovery access was immediately suspended; no inmate was

permitted to leave the unit unless he was being released; and inmates were permitted to leave their

cells only approximately three times per week for a total of five hours per week to use the phone

or email system. Occasionally, a hot lunch would be served, but generally all meals were cold or

frozen. Rats infested his unit. Toilets overflowed constantly, and Avenatti was told to use his

hands to clean it up. The conditions were inhumane and beyond brutal.

       In late March, Avenatti’s counsel in California requested that the district judge in

California order Avenatti’s release to home confinement as a result of his underlying health

conditions and risk for serious injury or death were he to contract COVID-19 while incarcerated.

The government opposed this effort, and on March 21, 2020, the California district court denied

the request.

       On April 10, 2020, the district court in California reversed course and ordered the

government to release Avenatti to home confinement under severe restrictions; however, the

government demanded that Avenatti first be quarantined. On Saturday, April 11, 2020, the BOP

moved Avenatti back to solitary confinement in 10 South and again placed him under unreasonably

restrictive conditions. He was not permitted email access, access to a computer, or regular contact

with his attorneys or family. Nor was he permitted to leave his cell on a single occasion until his

release to home confinement two weeks later, on April 24, 2020.

       In sum, the government placed Avenatti in custody for approximately 100 days, during

which he was permitted to see the sky and breathe fresh air for one hour in total. For 80 of those

days, he was held in solitary confinement or under lockdown status. During this time, he was




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forced to endure abhorrent, brutal conditions almost unheard of even for inmates with long, violent

criminal histories or serious disciplinary problems.

       Since his temporary release due to COVID-19 over a year ago on April 24, 2020, Avenatti

has remained confined to a two bedroom, one-bath apartment with his friend, Jay Manheimer,

under substantial restrictions. For more than 13 months, Avenatti has not been permitted to leave

Mr. Manheimer’s apartment, nor asked for the opportunity to leave, even for medical or dental

care, with two exceptions – to receive the two doses of the COVID-19 vaccine.

       Avenatti remains subject to the January 15, 2020 detention order and is presently on

temporary release, in the custody of Mr. Manheimer. While his conditions of confinement are

better than prison, he is not on traditional home confinement and his liberty is severely restricted.

On May 14, 2021, Pretrial Services submitted a report to the district court in California and stated

that “[t]hroughout the period of temporary release, the defendant has remained in compliance and

has been cooperative with directives from Pretrial Services.”       According to Pretrial Services,

Avenatti “has shown a pattern of consistently compliant behavior” and Pretrial “has not received

any new information that would suggest [Avenatti] is a flight risk or danger to the community.”

Id.

       The Second Circuit has held that “pre-sentence confinement conditions may in appropriate

cases be a permissible basis for downward departures.” United States v. Carty, 264 F. 3d 191, 196

(2d Cir. 2001). District court judges in the Southern District of New York have previously granted

departures on this basis. In United States v. Mateo, 299 F. Supp. 2d 201 (S.D.N.Y. 2004), Judge

Marrero downwardly departed nine levels from the guidelines range on the grounds of harsh pre-

sentence confinement conditions and extraordinary family circumstances. The defendant was

pregnant while incarcerated. She suffered labor pains for over 15 hours before assistance arrived.




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She was afraid and in severe pain. She eventually gave birth in the prison without medication.

Judge Marrero found that the trauma suffered by the defendant during custody, “the full effects of

which can never be comprehensively gauged, has inflicted forms of pain and suffering that have

effectively enhanced, to a disproportionate degree, the level of punishment contemplated to be

experienced by inmates in the typical case during the period of incarceration prescribed by the

Guidelines for [the] offense.” Id. at 212.

       Similarly, in United States v. Salvador, 2006 WL 2034637 (S.D.N.Y. 2006), the Court

found that unsanitary conditions and a lack of food were among the reasons justifying a departure

for incarceration in the Dominican Republic while awaiting extradition to the United States. And,

in United States v. Francis, 129 F. Supp. 2d 612, 619 (S.D.N.Y. 2001), the district court

downwardly departed due to the conditions of pre-sentence detention, finding that the defendant

had suffered “extraordinary stress and fear” while incarcerated in a state correctional facility as a

federal detainee.

       Since the COVID-19 pandemic, judges within this district have considered the impact of

the virus as a §3553(a) factor and granted downward variances based on the conditions endured

by inmates at BOP facilities. See, e.g., United States v. Morgan, 19 Cr. 209 (RMB) (S.D.N.Y.

May 5, 2020), ECF No. 90 (cutting the sentence to less than half of the low end of the guidelines

based in part on conditions at MDC during the pandemic and condemning the conditions at MCC

and MDC prior to the current crisis); United States v. Casillas, 19 Cr. 863 (VSB) (S.D.N.Y. May

4, 2020), ECF No. 27 (reducing the length of the sentence in part based on conditions at MCC

during the COVID-19 crisis); United States v. Pierson, 14 Cr. 855 (LTS) (S.D.N.Y. May 4, 2020),

ECF No. 73 (same for defendant detained at MDC).




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       In the recent sentencing of Tiffany Days, 19 Cr. 619 (CM), held on April 29, 2021, former

Chief Judge McMahon made the following comments about the MCC: “It is the finding of this

Court that the conditions to which she was subjected are as disgusting, inhuman as anything I’ve

heard about in any Colombian prison, but more so because we are supposed to be better than that.”

(ECF No. 35, at p. 19) (transcript attached hereto as Exhibit 2). Similarly, Judge Engelmayer’s

thoughtful comments during the imposition of sentence in United States v. Aracena De Jesus, 20

Cr. 19 (PAE) (S.D.N.Y. July 1, 2020), ECF No. 27, speak volumes about the harsh conditions of

detention and its impact on inmates.

               “Finally, I am mindful . . . that you have served most of your time
               in prison so far during the worst pandemic in this country during the
               past 100 years. I’m mindful that you may have contracted COVID-
               19 while in prison. I’m mindful that your experience in prison as a
               result of the pandemic, the preceding lockdown, the ensuing
               lockdown, and your own illness was frightful. Prison is supposed to
               be punishment, but it is not supposed to be trauma of that nature or
               close. My colleagues and I commonly informally credit prisoners
               who have served time awaiting extradition in dreadful prisons
               overseas with more time served than measured by the calendar. The
               same logic applies here, and then some ….

               Bottom line, your time in the MCC was way harder than anyone
               intended when you were detained following your arrest. Any
               mature system of justice, any thoughtful judge in imposing the
               reasonable sentence here would have to recognize the unexpected
               and regrettable ardors that you experienced since your arrest in
               December.”

Tr. 7/1/20, at p. 36-37 (transcript attached hereto as Exhibit 3); see also United States v. Jervis

Cerino, 19 Cr. 323 (S.D.N.Y. July 21, 2020) (Judge Rakoff) (district court granted a variance from

a guideline range of 57-71 months for a Hobbs Act robbery and imposed a sentence of 10 months,

noting: “[I]t is fair to say that conditions in the prison system now result in a harshness that is not

the norm and that ought to be recognized by the court as a mitigating factor. In effect, you are

serving harder time every day you are in the federal prisons.”).



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                                                               Timeline of
                                                      March 22, 2019 – May 22, 2019
                                                           (Period of 62 Days)




                                   3/22/19                                    4/10/19
                                  Complaint                                 Indictment
                                   filed in                                   filed in
                                 instant case                              instant case
                                                                                                                                         #:23725




  SDNY US Attorney Burman                      3/24/19                                      5/22/19
   informed Main Justice about               Complaint                                    Indictment
defendant’s imminent arrest on              filed in Nike                                   filed in
 Nike matter. Burman was told                    case                                      Nike case
that SDNY “should stand down
 until the turf issue got settled”
        between the CDCA                                                                    5/22/19
      prosecution and SDNY                                                                Indictment
 prosecution. SDNY “was able                                                                filed in
 to reach an understanding with                                                            Clifford
    [Nicola] Hanna: if [SDNY]                                                                 case
  arrested Avenatti on Monday,
  Hanna would announce their
         charges as well.”
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SAN MATEO, Calif.--(BUSINESS WIRE)--ipsy and Michelle Phan announced today that they
have entered into a definitive agreement for Divinium Labs, LLC, a company owned by
Michelle Phan, to acquire EM Cosmetics from ipsy. Michelle will be moving on from ipsy to
focus on leading EM Cosmetics. ipsy will continue to grow as a partner to beauty brands with
the launch of ipsy Shopper, a personalized beauty shopping service.

“At ipsy, we have always embraced an entrepreneurial spirit supporting over 300 beauty brands
from the largest name brands to start-ups disrupting the space. Being objective is what allows us
to serve our community of ipsters with a broad range of looks and products that help them
express their unique beauty. Consistent with that strategy, we’re now excited to announce ipsy
Shopper, a personalized beauty shopping experience, that will launch in November to support
our wide variety of brand partners with over tens of thousands of SKUs,” said Marcelo
Camberos, ipsy co-founder and CEO.

“The idea of building an innovative beauty company for the creator generation is what created
ipsy. Michelle was pivotal in growing our creator community to over 8,000 creators, 4 successful
yearly Generation Beauty events and over half a billion monthly content views. We thank
Michelle and are excited to see where she will lead EM Cosmetics in the future,” said Jennifer
Goldfarb, ipsy co-founder and President.

“I’m excited to continue to develop EM Cosmetics for my community. Leading EM Cosmetics
will allow me to realize my vision of building a global beauty brand with innovative R&D and
increased vertical integration. It’s been fun and rewarding to help build ipsy from the ground up,
as we’ve seen creators fundamentally change the face of the beauty industry,” said Michelle
Phan.

ipsy:

Personalized Beauty Discovery, Inc., (dba ipsy), the beauty company of the creator movement,
and was co-founded in 2011 by Marcelo Camberos, Jennifer Goldfarb, and Michelle Phan. ipsy
now works with more than 8,000 creators and reaches more than 20 million individuals every
month through its owned and operated channels. The company operates the Glam Bag, a
personalized beauty sampling service for more than 2.5 million members, and ipsy Shopper, the
largest online beauty marketplace, with over 30,000 SKUs that provides customized
recommendations plus 10-30% cash back on every single purchase.
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EM Cosmetics:

EM Cosmetics is a different kind of cosmetics brand, created by a different kind of founder.
Michelle’s goal was to develop a beauty brand for today’s modern consumer. EM’s products are
designed to be refined, effortless and instrumental for the personal journey of self expression.
Beauty and art have always been a central part of Michelle Phan’s life since a young age. From
the moment she drew the first line on her eyes, she understood that makeup was a powerful
medium of self-expression. And so her mission throughout her career has been to inspire people
everywhere to claim their power, share their art and rethink beauty.

Contacts
ipsy
415-780-2568
Press@ipsy.com
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YouTube personality Michelle Phan is shuffling her businesses. The beauty expert that rose to
fame through makeup tutorial videos on YouTube has formed an agreement with her company
Divinium Labs and Ipsy, the online beauty shop she co-founded, to acquire EM Cosmetics from
Ipsy.




Phan co-founded Ipsy with Marcelo Camberos and Jennifer Goldfarb in 2011 and expanded the
business to work with over 8,000 creators and reach 20 million individuals. Ipsy also operates
Glam Bag, a personalized beauty sampling service, and will launch in November Ipsy Shopper,
an online beauty marketplace with over 30,000 SKUs.

Two years after co-founding Ipsy, Phan launched EM Cosmetics in the US with L’Oréal. The
line, which gets its name from a Vietnamese term of endearment, did not perform well, with
outlets reporting that the line was too expensive for Phan’s fan base.

With the acquisition, Phan will be moving on from Ipsy to focus on leading EM Cosmetics.

“I’m excited to continue to develop EM Cosmetics for my community,” said Phan. “Leading EM
Cosmetics will allow me to realize my vision of building a global beauty brand with innovative
R&D and increased vertical integration. It’s been fun and rewarding to help build Ipsy from the
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ground up, as we’ve seen creators fundamentally change the face of the beauty industry.”

The new EM Cosmetics launched with affordable lip creams and eyeliners and will expand its
product offering around these products.


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